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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- X
                                                                  :
 TONY CACCAVALE, ANTHONY MANGELLI,                                :
 DOUGLAS SORBIE, and JAMES BILLUPS,                               :    2:20-cv-00974 (NJC)(ST)
 individually and on behalf of all others similarly               :
 situated,                                                        :
                                                                  :
                       Plaintiffs,                                :
                       v.                                         :
                                                                  :
 HEWLETT-PACKARD COMPANY A/K/A HP                                 :
 INC., HEWLETT PACKARD ENTERPRISE                                 :
 COMPANY and UNISYS CORPORATION,                                  :
                                                                  :
                       Defendants.                               :
                                                                 :
 --------------------------------------------------------------- X

                            SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (“Settlement Agreement” or “Agreement”) is made
by and between Named Plaintiff Douglas Sorbie (the “Settlement Class Representative”), on behalf
of himself, his agents, representatives, assigns, heirs, executors, beneficiaries, trustees, and on behalf
of the Settlement Class/Collective, as defined below, and Unisys Corporation, on behalf of itself, and
all of its past, present, and future parents, divisions, affiliates, subsidiaries, predecessors, and
successors, and all of its and their respective current and former directors, partners, principals, officers,
shareholders, members, fiduciaries, trustees, employees, representatives, attorneys, administrators,
benefit plans, insurers, reinsurers, and agents, and the assigns of each of them, each in their individual
and corporate capacities (collectively, “Unisys” or the “Company”). Unisys or the Company and the
Settlement Class Representative are referred to herein as the “Parties.” Unless specifically provided
elsewhere in this Agreement, capitalized terms used in this Agreement shall have the meanings set
forth in Section 1 below. For the avoidance of doubt, the terms Unisys and Company shall not include
any of the Hewlett-Packard entities as described in Section 1(bb).

       WHEREAS, in this Action, the Settlement Class Representative asserted federal and state
wage and hour claims against Unisys under: (i) the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.,
(“FLSA”); and (ii) New York Labor Law, N.Y. LAB. L. § 190, et seq. (“NYLL”), specifically NYLL
§ 191(1)(a) and § 198;

        WHEREAS, the Settlement Class Representative brought claims on behalf of himself and
others who are purportedly similarly situated current and former Unisys employees who are or were
employed within the applicable federal and state statutes of limitation with a Unisys-assigned work
location in the State of New York in the Service Delivery Employee job family in the following
positions: Field Engineer 1, Field Engineer 2, Field Engineer 3, Field Engineer 4, Customer Engineer
2, Customer Engineer 3, Customer Engineer 4, Customer Engineer 5, Customer Engineer 6, Client
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Infrast Rep 3-Barg Unit, Client Infrast Rep 4-Bar Unit, Client Infrast Rep 5-Barg Unit, UTS Field Svc
Associate, UTS Field Svc Tech 1, UTS Field Svc Tech 2, UTS Field Svc Tech 3, UTS Field Svc Tech
4, or UTS Field Svc Tech 5 as a purported collective action pursuant to 29 U.S.C. § 216(b) and a
purported class action pursuant to Fed. R. Civ. P. 23;

        WHEREAS, on May 28, 2021, the Court conditionally certified a collective action of
purportedly “‘similarly situated’ individuals who work or have worked in New York as Field Service
Engineers of Defendant Unisys from December 17, 2017 to present” under 29 U.S.C. § 216(b) solely
for the purpose of disseminating notice to members of the conditionally certified collective (ECF Doc.
83);

        WHEREAS, Unisys denies that it has committed any wrongdoing or violated any state or
federal laws pertaining to the payment of wages, has vigorously disputed the claims asserted in this
Action, and asserts that it has strong and meritorious defenses to the claims in this Action;

        WHEREAS, in order to avoid the expense and burden of further litigation, the Parties desire
to resolve the Action in accordance with the terms of this Agreement;

        WHEREAS, the Parties, through their counsel, represent that they have conducted a thorough
investigation into the facts of this Action and, having diligently investigated the claims asserted in this
Action, have exchanged volumes of documents and information in response to written discovery, and
are of the opinion and belief that the Settlement between the Parties is fair, reasonable, adequate, and
in the best interests of all in light of all known facts and circumstances, including the considerable
expense of discovery and litigation, claims made by the Settlement Class Representative, defenses
asserted by Unisys, uncertainty of the result through continued litigation, appeal and other
developments, and the risks of delay and an adverse judgment;

        WHEREAS, the Parties have engaged in arm’s-length settlement negotiations; and

        NOW, THEREFORE, in consideration of the foregoing and the mutual promises hereinafter
set forth, the Parties agree as follows:

1.      Definitions.

        a.      “Action” means the above-captioned civil action, namely, the putative class and
                collective action filed by Named Plaintiffs pending in the United States District Court
                for the Eastern District of New York, styled Tony Caccavale, Anthony Mangelli,
                Douglas Sorbie, and James Billups, individually and on behalf of all others similarly
                situated v. Hewlett-Packard Company a/k/a HP Inc., Hewlett Packard Enterprise
                Company, and Unisys Corporation, Case No. 1:20-cv-00974 (NJC)(ST), as currently
                pending and as may be amended pursuant to this Agreement.

        b.      “Administration Costs” means any and all fees and costs of the Claims Administrator
                paid or incurred for the duties of the Claims Administrator set forth in this Agreement,
                and any and all other fees, costs and/or expenses determined to be reasonably necessary
                for the administration of the Settlement.

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        c.      “Attorneys’ Fees” means all attorneys’ fees incurred in this case by Class Counsel.
                Attorneys’ Fees shall not exceed thirty-three and one-third percent (33 1/3%) of Six
                Hundred Twenty-Five Thousand Dollars ($625,000.00), subject to Court approval,
                which Unisys will not oppose.

        d.      “Check Cashing Period” means the period of time between the mailing of a check by
                the Claims Administrator to a Participating Settlement Member and one hundred
                twenty (120) days after such checks are mailed.

        e.      “Claim Form” means the form attached as Exhibit C to this Agreement or another
                form approved by the Court which a Settlement Member must timely return to become
                a Participating Settlement Member.

        f.      “Claim Period” means the period for filing claims, which shall be the time period
                commencing on the date of the first mailing of the Notice to Settlement Members and
                ending sixty (60) days later.

        g.      “Claim(s)” means without limitation any and all actions, claims, suits, causes of action,
                litigations, lawsuits, arbitrations, expert determinations, enforcement actions,
                investigations, proceedings, demands, assertions, contentions, allegations, disputes,
                matters, issues, obligations, rights, duties, debts, liabilities, levies, executions, dues,
                accounts, charges, bonds, agreements, contracts, covenants, representations,
                warranties, promises, judgments, interests, compensation, damages, losses, expenses,
                costs, fees (including, but not limited to, attorneys’ fees) of every nature, kind, type,
                and description, whether in law or in equity, including based on statutory,
                constitutional, express or implied contractual, or any common law, whether known or
                unknown, contingent or absolute, matured or unmatured, accrued or unaccrued,
                apparent or unapparent, liquidated or unliquidated, or otherwise.

        h.      “Claims Administrator” means Rust Consulting, a neutral third-party administrator,
                or such other neutral administrator as chosen by the Parties and approved by the Court
                (see Sections 11 and 13).

        i.      “Class Counsel” means all current counsel of record for the Named Plaintiffs in this
                case, namely, Paul A. Pagano of the Law Office of Paul A. Pagano, P.C.; Jason L.
                Abelove of the Law Office of Jason L. Abelove, P.C.; Anthony J. LoPresti of the Law
                Offices of Anthony J. LoPresti; and Yale Pollack of the Law Offices of Yale Pollack,
                P.C.

        j.      “Complaint” means each and every Complaint and Amended Complaint filed in this
                Action, including the Third Amended Complaint filed on January 26, 2023, ECF No.
                201, all of which set forth the claims to be encompassed in, and dismissed by, this
                Settlement.

        k.      “Court” means the United States District Court for the Eastern District of New York.



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        l.      “Defense Counsel” means counsel of record for Unisys in this case, specifically,
                Epstein, Becker & Green, P.C.

        m.      “Distribution Amount” means the amount distributed to a Participating Settlement
                Member as set out in Section 1(w) and Section 6 of this Agreement.

        n.      “Effective Date” means three (3) days after the date on which the Final Approval Order
                becomes Final.

        o.      “Final” means, when used in connection with any Court order or judgment:

                1.     if no appeal is taken therefrom, on the date on which the time to appeal
                       therefrom (including any potential extension of time) has expired; or

                2.     if any appeal is taken therefrom, on the date on which all appeals therefrom,
                       including petitions for rehearing or reargument, petitions for rehearing en banc,
                       and petitions for certiorari or any other form of review, have been finally
                       disposed of, such that the time to appeal therefrom (including any potential
                       extension(s) of time) has expired, in a manner resulting in final judicial
                       approval of this Agreement.

        p.      “Final Approval Order” means a Final Order that approves the Settlement, grants
                final certification of the Settlement Class/Collective for settlement purposes only,
                authorizes payments to the Settlement Class Representative, the Participating
                Settlement Members, the Claims Administrator, and Class Counsel, as provided in this
                Agreement, releases Unisys from the Claims of the Settlement Class/Collective as set
                forth in this Agreement, and dismisses the Action with prejudice, which the Parties
                shall submit in a mutually agreed upon form. The Court need not use the exact
                language set forth herein or in the proposed final approval order as long as the Final
                Approval Order effectuates the purposes of this Agreement.

        q.      “Gross Settlement Amount” means the maximum settlement sum paid by Unisys,
                which total amount shall not under any circumstance exceed Six Hundred Twenty-Five
                Thousand Dollars ($625,000.00), which shall be apportioned as set forth below to pay
                all Court approved Attorneys’ Fees, Lawsuit Costs, Service Awards, Administration
                Costs, and the Distribution Amounts to Participating Settlement Members. Under no
                circumstances shall the Gross Settlement Amount exceed $625,000.00, which shall
                include the employer’s (i.e., Unisys’) share of payroll taxes, if any.

        r.      “Lawsuit Costs” means all litigation expenses and costs incurred in this Action by
                Class Counsel. Class Counsel represents that such Lawsuit Costs are estimated to be
                no more than Thirty-Five Thousand Dollars and No Cents ($35,000.00) for this Action.

        s.      “Named Plaintiffs” means Douglas Sorbie, Tony Caccavale, Anthony Mangelli, and
                James Billups.

        t.      “Net Settlement Amount” means the Gross Settlement Amount, plus any applicable
                interest, less:
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                1.     Attorneys’ Fees and Lawsuit Costs awarded to Class Counsel pursuant to
                       Section 8 of this Agreement;

                2.     Taxes, if any;

                3.     Administration Costs; and

                4.     Service Award.

        u.      “Notice” means the notice describing the Parties’ proposed Settlement to Settlement
                Members, as approved by the Court in the Preliminary Approval Order in the form
                attached hereto as Exhibit A or other similar form as approved by the Court.

        v.      “Opt-out” means a request by a Settlement Member that is submitted in accordance
                with Section 13(k) and the Notice which expresses the Settlement Members’ desire not
                to participate in the Settlement.

        w.      “Participating Settlement Member” means a Settlement Member (including, for the
                avoidance of doubt, the Settlement Class Representative) who does not submit a valid
                Opt-out in accordance with Section 13(k) and the Notice and who properly submits a
                Valid Claim Form within the Claim Period, in the manner described by and in
                compliance with the terms of this Agreement. A Settlement Member must not Opt-out
                of the Settlement to be a Participating Settlement Member and must timely submit a
                Valid Claim Form to become a Participating Settlement Member and receive a
                Distribution Amount pursuant to Section 6.

        x.      “Party” means Unisys/the Company or the Settlement Class Representative.

        y.      “Preliminary Approval Date” means the date a Preliminary Approval Order is
                entered by the Court.

        z.      “Preliminary Approval Order” means an order entered by the Court on the
                Preliminary Approval Date that preliminarily approves the terms and conditions of this
                Agreement. For purposes of this Agreement, “Preliminary Approval” shall occur
                upon the issuance of a Court order granting Preliminary Approval of the Agreement
                for the purpose of providing notice to the Settlement Members; preliminarily certifying
                the Settlement Class/Collective for purpose of providing Notice to the Settlement
                Members; asserting jurisdiction over the implementation and administration of this
                Agreement; adjudging the terms of the Agreement to be fair, reasonable, and adequate,
                and in the best interests of the Settlement Class Representative and Settlement
                Members, and directing consummation of its terms and provisions; approving the form
                and content of a Notice and Claim Form advising the Settlement Members of the
                material terms of this Settlement, the procedure for approval thereof, and their rights
                with respect thereto; confirming Class Counsel as counsel to the Settlement Class; and
                appointing a Claims Administrator. The Court need not use the exact language set
                forth herein as long as the Preliminary Approval Order effectuates the purposes of this
                Agreement.

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        aa.     “Qualified Settlement Fund,” or “QSF,” means the qualified settlement fund
                established under Section 468B of the Internal Revenue Code, and more fully discussed
                herein, established and administered by the Claims Administrator.

        bb.     “Released Parties” or “Releasees” means collectively Defendant Unisys Corporation,
                and all of its past, present, and future parents, divisions, affiliates, subsidiaries,
                predecessors, and successors, and all of its and their respective current and former
                directors, partners, principals, officers, shareholders, members, fiduciaries, trustees,
                employees, representatives, attorneys, administrators, benefit plans, insurers,
                reinsurers, and agents, and the assigns of each of them, each in their individual and
                corporate capacities. For the avoidance of doubt, Hewlett-Packard Company, HP Inc.
                and Hewlett Packard Enterprise Company (collectively “HP”) and all other HP
                entities/HP related entities are not considered Released Parties.

        cc.     “Releases” means the release of claims set forth in Section 14 below.

        dd.     “Service Award(s)” means a service payment to the Settlement Class Representative,
                as set forth in Section 9 below.

        ee.     “Service Delivery Employee” means current or former employees of Unisys
                (including the Named Plaintiffs) who are or were employed at any time by Unisys in
                New York based on a Unisys-assigned New York work location, during the period
                February 21, 2014 through October 20, 2023 in one or more of the following positions
                in the Service Delivery Employee job family: Field Engineer 1, Field Engineer 2, Field
                Engineer 3, Field Engineer 4, Customer Engineer 2, Customer Engineer 3, Customer
                Engineer 4, Customer Engineer 5, Customer Engineer 6, Client Infrast Rep 3-Barg
                Unit, Client Infrast Rep 4-Bar Unit, Client Infrast Rep 5-Barg Unit, UTS Field Svc
                Associate, UTS Field Svc Tech 1, UTS Field Svc Tech 2, UTS Field Svc Tech 3, UTS
                Field Svc Tech 4, or UTS Field Svc Tech 5.

        ff.     “Settlement” means the terms of the settlement agreed to by the Parties and their
                counsel, as set forth in this Agreement.

        gg.     “Settlement Members” means all Service Delivery Employees. Unless specifically
                stated otherwise, the term “Settlement Members” includes the Named Plaintiffs.

        hh.     “Settlement Class/Collective” means the New York State Settlement Class and the
                Federal FLSA Settlement Collective defined as follows:

                          The “New York State Settlement Class” consists of all Settlement
                           Members.

                          The “Federal FLSA Settlement Collective” consists of all Settlement
                           Members limited to the period December 17, 2017 through October 20,
                           2023.

        ii.     “Valid Claim Form” means a completed and signed Claim Form that satisfies the
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                requirements set forth in Section 13 below, and that is timely submitted within the
                Claim Period in the form attached as Exhibit C or other similar form as approved by
                the Court.

2.      No Admission of Liability and No Concession as to the Merits. Unisys denies that it
        violated the law in any manner, denies that it violated any statutory law alleged in this Action,
        and asserts that it has strong defenses to the allegations in the Complaint. The Settlement Class
        Representative makes no concessions as to the merits of his claims against Unisys. The Parties
        have entered into this Agreement to avoid the risks, uncertainty, expense, and burden of further
        litigation. Nothing contained herein, nor the consummation of this Agreement, is to be
        construed or deemed an admission of liability, culpability, negligence, or wrongdoing on the
        part of Unisys, or concession thereof on the part of the Settlement Class Representative.

3.      Process for Approval of Settlement.

        a.      No later than fifteen (15) days after full execution of this Agreement and agreement of
                the Parties as to the content of the following documents, or other deadline as set by the
                Court, Class Counsel shall submit to the Court a Motion for Preliminary Approval on
                consent, along with this Agreement and the following:

                1.     Proposed Preliminary Approval Order (Exhibit A);

                2.     Notice (Exhibit B); and

                3.     Claim Form (including a consent to join form, and release) (Exhibit C).

        b.      In conjunction with the filing of the Motion for Preliminary Approval on consent,
                counsel for the Parties will communicate with the Clerk of the Court as needed and
                make any further filings necessary to secure a Preliminary Approval Order.

        c.      The Motion for Preliminary Approval will also include a request that the Court,
                consistent with its authority pursuant to the All Writs Act, 28 U.S.C. § 1651(a), enjoin
                all Settlement Members from initiating lawsuits asserting Claims encompassed within
                Sections 14(a) and 14(b) against Unisys on behalf of any class or collective of Service
                Delivery Employees, until such time as Final Approval has been granted. The Motion
                will request that the Court issue an injunction as broad and comprehensive as permitted
                and that such injunction be included in the Preliminary Approval Order.

        d.      In connection with seeking a Preliminary Approval Order, the Parties will ask the Court
                to schedule and conduct a final approval/fairness hearing regarding the Settlement (the
                “Final Approval/Fairness Hearing”), and to grant a Final Approval Order no earlier
                than the time period required by 28 U.S.C. § 1715, and as soon thereafter as practicable,
                after the Preliminary Approval Order date. The Parties will file an agreed-upon Motion
                for Final Approval of the Settlement and shall present a proposed final approval order
                in connection therewith.

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        e.      If the Court enters a Final Approval Order, the Effective Date shall occur as set forth
                above in Section 1(n).

        f.      The Parties agree to cooperate and take all steps necessary and appropriate to obtain
                Preliminary and Final Approval Orders, to effectuate all aspects of this Agreement, and
                to dismiss this case with prejudice.

        g.      In the event that: (i) the Court does not preliminarily approve the Settlement as
                provided herein, except insofar as Section 3(c); (ii) the Court does not finally approve
                the Settlement as provided herein; (iii) the Court does not certify the Settlement
                Class/Collective; or (iv) the Settlement does not become Final for any other reason, the
                Parties agree to engage in follow-up negotiations with the intent of resolving the
                Court’s concerns, and, if feasible, to resubmit the Settlement for approval within thirty
                (30) days (the “Good Faith Period”). The obligation to negotiate in good faith for 30
                days shall survive even if the Court does not grant the Parties’ approval motion(s).

        h.      If the Court does not issue a Preliminary Approval Order or Final Approval Order or
                declines to certify the Settlement Class/Collective, or if the Effective Date does not
                occur for any reason, then, after the expiration of the Good Faith Period, this Settlement
                Agreement (and any prior negotiations, understandings, or agreements concerning its
                subject matter, including, but not limited to, the understanding the Parties confirmed
                via email correspondence on May 2, 2023) shall be null and void and of no further use
                or effect, and the Parties will be returned to their respective positions in this case nunc
                pro tunc as of the date of the Settlement Agreement, including the posture of the case
                vis-à-vis certification under 29 U.S.C. § 216(b) and Rule 23, without prejudice to
                Unisys’ ability to seek decertification under 29 U.S.C. § 216(b) and/or oppose
                certification of the putative class under Rule 23. The Parties acknowledge that under
                such circumstances additional discovery will need to be conducted and they each
                reserve their rights with regard thereto and with regard to making any application to
                the Court either party deems to be appropriate.

        i.      If at any time after the Notice has been sent out, the Court declines to grant a Final
                Approval Order, the Settlement Class/Collective fail to be certified or are decertified,
                or the Effective Date does not occur, and the Parties are thereafter unable to renegotiate
                a settlement that is granted final approval such that the Effective Date occurs and the
                Settlement Class/Collective are certified, the Claims Administrator, upon the request
                of the Parties, or as ordered by the Court, will provide an additional notice to the
                Participating Settlement Members, in a form jointly agreed upon by the Parties (or as
                ordered by the Court), advising that the Settlement did not receive final approval and
                that, as a result, no payments will be made to Participating Settlement Members and
                the Settlement is void and that their Claim Forms are null and void. To the extent such
                additional notice is sent, the cost therefor shall be split equally between the Settlement
                Class Representative and Unisys.

        j.      Neither this Agreement nor any prior negotiation, understanding, or agreement to
                resolve this Action shall be deemed or construed to be an admission or evidence of any
                violation of any statute or law, common law principle, administrative code, rule or
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                regulation, of any liability or wrongdoing by Unisys, or of the truth or falsity of any of
                the claims or allegations contained in this Action, and evidence thereof shall not be
                discoverable or used directly or indirectly, in any way, whether in this Action or in any
                other action or proceeding. Unisys does not waive, and instead expressly reserves, its
                right to challenge the propriety of collective treatment and/or class certification in this
                Action or otherwise for any purpose as if this Agreement had not been entered into by
                the Parties, in the event that the Court does not certify the Settlement Class/Collective
                or in the event that the Court does not issue a Preliminary Approval Order or Final
                Approval Order or if the Effective Date otherwise does not occur. The Parties
                expressly reserve all of their rights and defenses if the Effective Date does not occur.
                In such event, the provisions of this Agreement may not be used by the Parties to
                enforce the terms of this Agreement. Neither this Agreement nor any document
                submitted in connection with this Agreement including those seeking preliminary
                approval of this Agreement, nor any term contained herein or therein shall be used as
                evidence in any other legal proceeding or for any other purpose whatsoever.

        k.      All terms and conditions of this Agreement, including, without limitation, certification
                by the Court of the Settlement Class/Collective, are contingent upon the occurrence of
                the Effective Date.

4.      Settlement Class/Collective. Solely for settlement purposes, the Parties agree to seek
        conditional certification by the Court of the New York State Settlement Class as a Federal
        Rule of Civil Procedure 23 class and the Federal FLSA Settlement Collective pursuant to 29
        U.S.C. § 216(b).

5.      Settlement Funding and Payments.

        a.      Unisys agrees to pay up to a maximum of Six Hundred Twenty-Five Thousand Dollars
                ($625,000.00), in order to fully and finally resolve this Action in its entirety as set out
                in this Agreement, inclusive of all Attorneys’ Fees and Lawsuit Costs, interest,
                Administration Costs, Distribution Amounts, liquidated, punitive, and multiplier of
                damages, taxes, and Service Awards, if any. Unisys shall not be responsible for any
                taxes imposed by federal, state, or local law on the Participating Settlement Members
                or Unisys as a result of payments made under this Agreement, or any other sums in
                excess of the Gross Settlement Amount. The amounts necessary to pay the
                Administration Costs shall be paid from the Gross Settlement Amount. In no case shall
                the Gross Settlement Amount exceed Six Hundred Twenty-Five Thousand Dollars
                ($625,000.00). Any amount in excess of the Gross Settlement Amount necessary to
                pay Administration Costs shall be deducted from the Distribution Amounts paid to
                each Participating Settlement Member on a pro rata basis.

        b.      Unisys shall deposit the Gross Settlement Amount into the Qualified Settlement Fund
                as follows: within twenty-one (21) days after the Effective Date, Unisys shall deposit
                the Gross Settlement Amount into an interest-bearing account mutually agreed upon
                by Class Counsel and Defense Counsel and to be under the control of the Claims
                Administrator and designated as a QSF for distribution in accordance with the terms
                of the Agreement.
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        c.      Unisys’s payments into the QSF shall be treated as a payment of a Qualified or
                Designated Settlement Fund under I.R.C. § 468B and the regulations or proposed
                regulations promulgated thereunder (including, without limitation, Treasury Reg. §
                1.468B-1-5 or any successor regulation).

        d.      The QSF will be established by the Claims Administrator pursuant to the Internal
                Revenue Code and insured and guaranteed to the full extent permissible under 12 CFR
                § 370.4. Any funds on deposit in the QSF shall be deemed and considered to be in
                custodia legis of the Court. The QSF will be created as an interest-bearing account,
                and the Claims Administrator will prepare any tax returns on any interest earned by the
                QSF and pay such taxes from the QSF.

        e.      Within fourteen (14) days of the issuance of a Final Approval Order and the Court’s
                ruling on the amounts to be awarded for (a) Attorneys’ Fees and Lawsuit Costs and (b)
                Service Awards, the Claims Administrator shall determine and provide to Defense
                Counsel and Class Counsel the Administration Costs, Net Settlement Amount, and
                Distribution Amounts.

        f.      The Parties acknowledge and agree that no portion or part of the Gross Settlement
                Amount or any payment hereunder is being made as a fine or penalty to any
                governmental agency.

6. Calculation of Distribution Amounts.

        a.      Each Settlement Member who becomes a Participating Settlement Member will
                receive a Distribution Amount calculated pursuant to the following formula:

                1. The number of applicable overtime hours worked by all Participating Settlement
                   Members will be totaled (“Total Overtime Hours”).
                2. Each Participating Settlement Member’s applicable individual total overtime hours
                   (the numerator) will be divided by the Total Overtime Hours (the denominator) to
                   arrive at that Participating Settlement Member’s “Overtime Participation
                   Percentage.”

                3. Each Participating Settlement Member’s Overtime Participation Percentage will be
                   multiplied by the Net Settlement Amount.

                4. Participating Settlement Members whose Distribution Amount would result in a
                   payment of less than $50, or no payment, will receive a minimum Distribution
                   Amount from the Net Settlement Amount in the amount of $50.

                5. Allocation to Participating Settlement Members whose Distribution Amount would
                   result in a payment equal to or greater than $50, will be made from the Net
                   Settlement Amount minus the total amount of minimum payments set forth in
                   Section 6(a)(4) above.


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                6. The resulting amount set out in Section 6(a)(4) or as applicable Section 6(a)(5) will
                   be that “Participating Settlement Member’s Distribution Amount.”

                7. Only Participating Settlement Members shall be entitled to receive an individual
                   Distribution Amount.

        b.      If the Court awards amounts less than as identified in Sections 8 (Attorneys’ Fees and
                Lawsuit Costs), 9 (Service Award), and/or 11 (Administration Costs), the amounts not
                awarded will become part of the Net Settlement Amount to be distributed to
                Participating Settlement Members as described in Section 6(a)(1)-(7).

        c.      In the event that the QSF yields interest, the interest earned shall revert to the Class.

        d.      $50,000 of the Gross Settlement Amount will be reserved (the “Reserve Settlement
                Fund”) to be used to (i) correct any errors made in the determination of a Participating
                Settlement Member’s Distribution Amount; or (ii) pay disputed claims, including but
                not limited to claims from putative Settlement Members who are mistakenly not
                identified as Settlement Members by the Parties for purposes of receiving Notice. Any
                unused portion of this fund will be distributed to Participating Settlement Members
                within 30 days after the Check Cashing Period in accordance with their Overtime
                Participation Percentage, provided, however, a Participating Settlement Member will
                not participate in such distribution if he/she already received a payment from the
                Reserve Settlement Fund. In no event shall any payment paid pursuant to this Reserve
                Settlement Fund increase Unisys’ Gross Settlement Amount under this Settlement.

7. Payments shall be made to Participating Settlement Members:

        a.      Within thirty (30) days after the Effective Date, the Claims Administrator shall
                disburse the Distribution Amounts to the Participating Settlement Members by mailing
                checks by U.S. Mail. The Claims Administrator will also include a calculation of the
                Distribution Amount for each Participating Settlement Member. Checks issued
                pursuant to this Section shall expire one hundred twenty (120) days after they are
                mailed, but a failure by any Participating Settlement Member to deposit or cash a check
                within the time period allotted shall have no effect on that individual’s consent to join
                this Action or Releases. At the close of the 120-day period, the Claims Administrator
                will issue a stop-payment order on all uncashed/undeposited or returned checks. If a
                check is returned as undeliverable, the Claims Administrator shall follow the
                procedures set forth in Section 13(g) regarding returned Notice packets. After
                following the foregoing procedures, the Claims Administrator shall issue a stop-
                payment order on all remaining uncashed/undeposited or returned checks.

        b.      In the event of a Participating Settlement Member’s report of a lost or destroyed check
                within the Check Cashing Period, the Claims Administrator shall issue a stop payment
                order on the original check and issue a new check to such Participating Settlement
                Member.

        c.      The Parties agree that the amount distributed to each Participating Settlement Member
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                will be considered non-wage liquidated damages and will be reported by the Claims
                Administrator as such to each Participating Settlement Member on an IRS Form 1099.

        d.      The payment of Distribution Amounts to Participating Settlement Members shall have
                no impact on their entitlement to or receipt of any benefits under any Unisys policy,
                practice, or welfare or benefit plan, or, as allowable by law, to their entitlement or
                receipt of workers’ compensation benefits or unemployment compensation.

        e.      This Settlement is not a claims-made settlement. Unless Unisys exercises its right to
                void this Agreement pursuant to Section 17(b), as of the Effective Date, Unisys shall
                not have any right to the return of the Qualified Settlement Fund or any portion thereof
                irrespective of the number of claims submitted, the collective amount of losses of
                Participating Settlement Members, the percentage of recovery of losses, or the amounts
                to be paid to Participating Settlement Members from the Qualified Settlement Fund.
                If any portion of the Qualified Settlement Fund remains following distribution pursuant
                to Section 7(a), then such remaining funds, after payment of any further Court-
                approved fees, costs, or expenses, shall be distributed to the National Institute for
                Workers’ Rights, or other charity approved by the Court.

8.      Attorneys’ Fees and Lawsuit Costs.

        a.      Within thirty (30) days preceding the date of the Final Approval/Fairness Hearing or
                the date set by the Court, Class Counsel shall make, and Unisys agrees not to oppose,
                an application for Attorneys’ Fees that does not exceed thirty-three and one third
                percent (33 1/3%) of the Gross Settlement Amount of Six Hundred Twenty-Five
                Thousand Dollars ($625,000.00). This percentage amount shall be calculated after the
                Lawsuit Costs are deducted from the Gross Settlement Amount. The Attorneys’ Fees
                and Lawsuit Costs awarded by the Court shall be the sole aggregate compensation for
                all Class Counsel and retained and other associated counsel in this Action, including,
                without limitation, Douglas E. Rowe of Certilman, Balin, Adler & Hyman, LLP, and
                Steven J. Moser of Moser Law Firm, P.C. (collectively, “Predecessor Counsel”). For
                the avoidance of doubt, to the extent that any Predecessor Counsel has a lien on any
                recovery from or against Unisys in this Action, the Participating Settlement Members
                and/or Class Counsel are solely responsible for discharging that lien. However, should
                the Court decline to award the full amount of attorneys’ fees requested, any differential
                shall become part of the Net Settlement Amount to be distributed to Participating
                Settlement Members.

        b.      Any Attorneys’ Fees and Lawsuit Costs awarded by the Court in connection with this
                Settlement shall include and constitute satisfaction of the entire amount of Class
                Counsel’s Attorneys’ Fees and Lawsuit Costs.

        c.      Any Attorneys’ Fees and Lawsuit Costs awarded by the Court in connection with this
                Settlement shall be retained by the Claims Administrator in the QSF until thirty (30)
                days after the Effective Date. If the Final Approval Order is reversed or modified on
                appeal, or if the Effective Date does not occur, or if the Settlement Agreement is
                otherwise terminated pursuant to the provisions of this Settlement Agreement, then any
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                Attorneys’ Fees and Lawsuit Costs are no longer payable. Upon payment of the
                Attorneys’ Fees and Lawsuit Costs awarded by the Court, Unisys, the Released Parties,
                Defense Counsel, and the Claims Administrator shall have no further liability or
                responsibility to Class Counsel, Predecessor Counsel or to any vendors or third parties
                employed by the Settlement Class Representative, any Settlement Member, or Class
                Counsel for Attorneys’ Fees and Lawsuit Costs.

        d.      Class Counsel shall allocate the Attorneys’ Fees and Lawsuit Costs payable to Class
                Counsel in a manner that, in Class Counsel’s good-faith judgment, reflects such
                counsel’s contribution to the institution, prosecution, or resolution of the claims in this
                Action and thereafter shall be distributed as directed by Class Counsel or by order of
                the Court. By executing this Agreement, all Class Counsel specifically agree to this
                process and waive any right to seek any additional Attorneys’ Fees and Lawsuit Costs
                from Unisys. Payments made pursuant to this Section shall be reported to state and
                federal taxing authorities by the Claims Administrator as non-wage income on IRS
                form 1099. Class Counsel agree that any allocation of fees among Class Counsel shall
                be the sole responsibility of Class Counsel, and Class Counsel agrees to defend and
                indemnify the Released Parties from any claims or liability by Class Counsel,
                Predecessor Counsel or any other party relating to attorneys’ fees or costs, including
                any lien claimed by Predecessor Counsel.

        e.      In addition to Class Counsel’s obligations to indemnify the Released Parties as set forth
                above in Section 8(d), to the extent an action is instituted against any of the Released
                Parties by Predecessor Counsel, Class Counsel other than the Law Office of Paul A.
                Pagano, Esq. and the Law Office of Jason L. Abelove, P.C., or any other party for
                attorneys’ fees and/or costs (“Attorney Fee Action”): (1) Paul Pagano of the Law
                Office of Paul A. Pagano, Esq. and Jason Abelove of the Law Office of Jason L.
                Abelove, P.C. shall, to the extent not prohibited by any applicable rules of professional
                conduct, defend the action at no cost to Unisys and have settlement authority; (2)
                alternatively Unisys may choose its own counsel for the defense of such action in
                which event Unisys shall be responsible for any attorneys’ fees and costs associated
                with such defense (but not any liability which shall remain the responsibility of Class
                Counsel), but Unisys will not settle any such action without approval by the Law Office
                of Paul A. Pagano, Esq. and the Law Office of Jason L. Abelove, P.C.; or (3) in the
                event that a third party (more specifically not any of the parties to the Action) asserts
                Paul Pagano and Jason Abelove are prohibited from defending Unisys in the Attorney
                Fee Action by any applicable rules of professional conduct and such rule/conflict is
                not reasonably waivable and such third party seeks and obtains a judicial determination
                that such rule/conflict is not waivable, Unisys may choose one of the following options:
                (i) Unisys may choose counsel to defend the action and Class Counsel will indemnify
                Unisys for the costs of such defense and liability up to the amount of attorneys’ fees
                awarded to Class Counsel by the Court in this Action; (ii) Unisys may choose its own
                counsel for the defense of such action in which event Unisys shall be responsible solely
                for the costs of defense of any such action (but not liability which shall remain the
                responsibility of Class Counsel), but Unisys will not settle any such action without
                approval by the Law Office of Paul A. Pagano, Esq. and the Law Office of Jason L.
                Abelove, P.C.; or (iii) Kevin O’Donoghue of the Law Office of Kevin O’Donoghue
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                shall represent Unisys and defend the action at no cost to Unisys and any resulting
                liability shall remain the responsibility of Class Counsel. For the avoidance of doubt,
                in connection with 3(i), (ii), and (iii) Unisys shall waive any reasonably waivable
                rule/conflict and Unisys will not settle the action without approval by the Law Office
                of Paul A. Pagano, Esq. and the Law Office of Jason L. Abelove, P.C.

        f.      The Parties further agree that it is the intent of this Agreement that any Settlement
                Member who retains an attorney in this Action other than Class Counsel does so at his
                or her own expense and that Unisys shall not be liable to any other party or Settlement
                Member claiming or seeking to claim attorneys’ fees or costs other than Class Counsel,
                and that any such claim for attorneys’ fees or costs by Class Counsel would be subject
                to Section 1(c).

9.      Service Award to Settlement Class Representative.

        a.      In return for services rendered to the Settlement Members, the Settlement Class
                Representative will petition the Court to receive Ten Thousand Dollars and No Cents
                ($10,000.00) as a Service Award.

        b.      Any such petition by Class Counsel shall be filed no less than thirty (30) days prior to
                the Final Approval/Fairness Hearing or the date set by the Court.

        c.      Any Service Award(s) approved by the Court in conjunction with the Settlement shall
                be paid from the QSF and shall reduce only the amount of the Gross Settlement
                Amount payable to the Settlement Members, not the Net Settlement Amount. Any
                Service Award(s) to the Settlement Class Representative shall be in addition to the
                payment(s) that the Settlement Class Representative shall receive as a Participating
                Settlement Member. Any Service Award(s) shall be distributed by the Claims
                Administrator in separate checks mailed within twenty (20) days after the Effective
                Date and shall be reported by the Claims Administrator to state and federal taxing
                authorities as non-wage income on IRS Form 1099.

        d.      In the event that the Final Approval Order is reversed or modified on appeal, or if the
                Effective Date does not occur, or if the Settlement Agreement is otherwise terminated
                pursuant to the provisions of this Settlement Agreement, or if the Settlement
                Agreement is denied Preliminary or Final Approval by the Court, then Unisys’
                obligation to make the Service Award payment will not be binding upon the Parties
                and will be null and void. For the avoidance of doubt, provided the Settlement Class
                Representative submits a Valid Claim Form, becomes a Participating Settlement
                Member, and receives his distribution, the Court’s reduction or denial of his sought
                Service Award will not impact the releases he provides in Section 14 (subject to
                Sections 1(bb) and 14(d)).

10.     Tax Liabilities

        a.      With respect to payments received pursuant to this Agreement that are not characterized
                as W-2 wage income, the Participating Settlement Members assume full responsibility

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                for the payment of any and all federal, state, and local taxes or contributions which may
                hereafter be imposed or required to be paid under any federal, state, or local law of any
                kind. As such, although the Parties believe, in good faith, that the tax treatment of all
                payments set forth in this Agreement are proper and in compliance with applicable IRS
                regulations, if, notwithstanding such belief, the Internal Revenue Service or any other
                federal, state, or local government, administrative agency, or court determines that any
                individual or entity and/or Unisys or Released Parties are liable for any failure by the
                Participating Settlement Members and/or Unisys or the Released Parties to pay federal,
                state, or local income or employment or payroll taxes with respect to any payment
                received pursuant to this Settlement that is not characterized as W-2 wage income, the
                Participating Settlement Members agree to indemnify Unisys and the Released Parties
                for any payments Unisys may be required to make (including any payments for interest
                and penalties) to any taxing authority, including resulting from the issuance of any IRS
                Form 1099, and any Participating Settlement Members’ failure to pay any taxes that any
                such individual or entity owes related to said income.

        b.      With respect to payments received pursuant to this Agreement that are characterized
                as attorneys’ fees, the attorney who receives such payments assumes responsibility for
                the payment of any and all federal, state, and local taxes or contributions which may
                hereafter be imposed or required to be paid under any federal, state, or local law of any
                kind related to the attorneys’ fees he receives. As such, although the Parties believe, in
                good faith, that the tax treatment of all payments set forth in this Agreement are proper
                and in compliance with applicable IRS regulations, if, notwithstanding such belief, the
                Internal Revenue Service or any other federal, state, or local government,
                administrative agency, or court determines that such attorney is liable for any federal,
                state, or local taxes or contributions with respect to any payment received pursuant to
                this Settlement that is characterized as attorneys’ fees, said attorney shall be
                responsible for said payments (including any payments for interest and penalties) and
                shall indemnify and hold Unisys and the Released Parties harmless for said payments.

11.     Claims Administrator

        a.      The Parties jointly retained Rust Consulting as Claims Administrator prior to filing the
                Unopposed Motion for Preliminary Approval. The Claims Administrator shall serve as
                the administrator of the Settlement and perform the services described in this
                Agreement, including, without limitation:

                1.     Establish and maintain a QSF;

                2.     Receive from Unisys and update and maintain as necessary a mailing list of
                       Settlement Members, mail the Notices and Claims Forms, and utilize follow-
                       up methods of contacts set forth herein to effectuate notice;

                3.     Receive Valid Claim Forms and Opt-out forms;

                4.     Calculate the Distribution Amounts for Participating Settlement Members;


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                5.     Pay, from the QSF, the Attorneys’ Fees and Lawsuit Costs, the Service Award,
                       and any other awards approved by the Court;

                6.     Pay, from the QSF, the Distribution Amounts to Participating Settlement
                       Members who submit Valid Claim Forms during the Claim Period;

                7.     Prepare tax returns and tax reporting of payments;

                8.     Make determinations concerning disputes submitted by Participating
                       Settlement Members concerning his or her Overtime Participation Percentage
                       they are assigned for purposes of calculating their Distribution Amounts;

                9.     Prepare and submit to the Parties an accounting of the portion of the Net
                       Settlement Amount that is comprised of the Distribution Amounts to be paid to
                       Participating Settlement Members, in accordance with Sections 6 and 7 of this
                       Agreement;

                10.    Prepare and submit to the Court an accounting of the Settlement, along with a
                       declaration to be submitted by the Claims Administrator with the Motion for
                       Final Approval;

                12.    Prepare and submit to the Parties a final accounting of the QSF, including all
                       amounts paid therefrom, and confirming its completion of the administration
                       of the Agreement, not later than thirty (30) days after the date on which
                       uncashed checks are deemed void pursuant to Section 7(a); and

                13.    Any other obligations established in this Agreement or subsequently agreed to
                       by the Parties.

        b.      All disputes relating to the Claims Administrator’s ability and need to perform its
                duties shall be referred to the Court, if necessary, which will have continuing
                jurisdiction over the terms and conditions of this Agreement, until all payments and
                obligations contemplated by the Agreement have been fully carried out.

        c.      All Court-approved Administration Costs, in an amount to be sought for approval from
                the Court at the time of the Final Approval/Fairness Hearing (but which are currently
                estimated not to exceed Eleven Thousand Six Hundred Dollars ($11,600.00)), shall be
                paid from the QSF. The necessary amounts to pay Administration Costs shall be paid
                from the Gross Settlement Amount (as set forth in Section 5(a)). In the event that the
                Administration Costs, when added to other components of the Settlement, exceed the
                Gross Settlement Amount of Six Hundred Twenty-Five Thousand Dollars
                ($625,000.00), any sums over the Gross Settlement Amount shall be deducted from the
                Distribution Amounts paid to each Participating Settlement Member on a pro rata basis,
                as set forth in Section 5(a).

        d.      Within twenty-two (22) days after the close of the Claim Period, the Claims
                Administrator will provide Class Counsel and Defense Counsel with a report of the
                Participating Settlement Members, Opt-out notices and objections, and the total
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                number of Participating Settlement Members and the approximate Distribution
                Amount to be made to each Participating Settlement Member. After receiving the
                Claims Administrator’s report, Class Counsel shall review the same to determine if the
                calculation of payments to Participating Settlement Members is consistent with this
                Agreement.

        e.      The Gross Settlement Amount, which under no circumstances shall exceed Six
                Hundred Twenty-Five Thousand Dollars ($625,000.00), shall be distributed by the
                Claims Administrator as follows:

                1.      First, all Court-approved Attorneys’ Fees;

                2.      Second, all Court-approved Lawsuit Costs;

                3.      Third, any Court-approved Service Awards;

                4.      Fourth, all Court-approved Administration Costs, including, but not limited
                        to, the payment of any taxes (including any estimated taxes, interest, or
                        penalties) due as a result of interest income, if any, earned by the QSF; and

                5.      Fifth, Distribution Amounts to Participating Settlement Members.

        f.      The Claims Administrator shall prepare and deliver the necessary tax documentation
                for signatures by all necessary parties and cause the appropriate informational and
                other tax return filing to occur.

        g.      The Claims Administrator will provide copies of all canceled settlement checks,
                including payments of Distribution Amounts, Service Awards, and Attorneys’ Fees
                and Lawsuit Costs, to Defense Counsel and Class Counsel.

        h.      The Claims Administrator shall provide proof of bonding and insurance coverage
                sufficient to secure the Gross Settlement Amount.

        i.      The Claims Administrator shall execute a non-disclosure agreement similar to the one
                the parties entered into in this Action on October 28, 2020.

12.     Notices Mandated by Statute. On October 26, 2023, Unisys sent out notices to an
        “Appropriate Federal Official” and “Appropriate State Officials” as required by 28 U.S.C. §
        1715. Unisys will send out supplemental notices pursuant to 28 U.S.C. §1715 within ten days
        of the filing of the renewed motion for preliminary approval of the Parties’ settlement.

13.    Notice of Settlement and Distribution of Settlement.

        a.      Mailing Notice and Claim Form to Settlement Members. Within twenty-one (21)
                days following the Preliminary Approval Order, Unisys shall provide to the Claims
                Administrator a confidential list, in electronic form, containing the following
                information for all Settlement Members: name, telephone number, last known address,
                and email address as such information exists in Unisys’ records (“Class List”). Within

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                 fourteen (14) days after Unisys provides the Class List to the Claims Administrator,
                 the Claims Administrator will mail to Settlement Members packets containing a Notice
                 and Claim Form. The Claims Administrator shall run a United States Post Office
                 National Change of Address (NCOA) database update on the names/addresses
                 contained within the Class List in a commercially reasonable time prior to issuing the
                 Notice. The Claims Administrator shall send such packets by first-class U.S. Mail to
                 each Settlement Member at such individual’s last known address as provided by
                 Unisys, or the updated address based upon the NCOA database search. A pre-addressed
                 return envelope will be included with the first-class mailing.

        b.       Notice. The Notice informing Settlement Members of the Settlement will include the
                 date of the Final Approval/Fairness Hearing and will explain the method of calculating
                 the Distribution Amount for each Participating Settlement Member. The Notice shall
                 also summarize the release language as set forth herein.

        c.       Claim Form. The Claim Form shall denote that the individual returning the form
                 consents to Opt-in to the Federal FLSA Settlement Collective as a party plaintiff and
                 chooses not to Opt-out of the New York State Settlement Class. The Claim Form will
                 also reference the release language that is set forth in the Notice, which will be
                 consistent with the Releases contained in Section 14 of this Agreement.

        d.       Validity of Claim Form. In order to be a Valid Claim Form, the Claim Form must be
                 completed as instructed on the Claim Form with no other material alterations
                 (excepting disputes pursuant to Section 13(h)), signed, dated, and postmarked or
                 otherwise returned to the Claims Administrator within the Claim Period. Claim Forms
                 may be provided to the Claims Administrator only via mail, facsimile, or email (if
                 allowed by Claims Administrator). There will be no web-based or online submission
                 of a Claim Form.

                1.    Within fifteen (15) days of receipt of an unsigned, incomplete, deficient or altered
                      Claim Form, the Claims Administrator shall notify the Settlement Member who
                      returned the form of its deficiency and provide such individual with a substitute
                      form that the individual may use to cure the deficiency within the later of the
                      Claim Period or fifteen (15) days after being notified of the deficiency by the
                      Claims Administrator (but in no event later than fifteen (15) days after the end of
                      the Claim Period). The notice of deficiency and substitute form required
                      hereunder shall be provided to the individual via U.S. Mail. The substitute Claim
                      Form must be returned and be a Valid Claim Form in the time provided in this
                      subsection. The Parties agree to allow the Claims Administrator to resolve any
                      challenges regarding the validity of any Claim Form made pursuant to this
                      subsection, consistent with the terms of this Agreement, and to make a final and
                      binding determination on all issues presented by any such challenges.

                2.    Any Settlement Member who fails to submit a timely, complete, and Valid Claim
                      Form shall be barred from receiving any Distribution Amount pursuant to this
                      Agreement. The Claims Administrator shall not review or consider any Claim
                      Form postmarked after the end of the Claim Period, nor shall the Claims
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                      Administrator make any distribution whatsoever with respect to any Claim Form
                      received after the end of the Claim Period (except as specifically set forth in
                      Section 13(d)(1) and this Section). Except for persons provided a notice of
                      deficiency under Section 13(d)(1) and as specifically set forth in Section 13(d)(1)
                      and this Section, it shall be conclusively presumed that, if a Claim Form is not
                      postmarked on or before the end of the Claim Period, the Settlement Member did
                      not return the Claim Form in a timely manner. Under no circumstances shall the
                      Claims Administrator have the authority to extend the deadline for Settlement
                      Members to file a Claim Form. However, the Claims Administrator will inform
                      Counsel for the Parties of any Claim Forms received within ten (10) days of the
                      end of the Claim Period and the reason provided for submitting an untimely Claim
                      Form. The Parties will discuss whether or not to include that individual as a
                      Participating Settlement Member. The Parties agree not to unreasonably deny a
                      late filer’s Claim Form.

                3.    Settlement Members who do not return a Valid Claim Form to the Claims
                      Administrator in compliance with the preceding sections within the Claim Period,
                      and do not timely Opt-out, shall be deemed to release all claims against Unisys
                      and the Released Parties as described in Section 14(a), and shall be deemed to
                      have waived any right to receive a payment in conjunction with the Settlement.

                4.    For the avoidance of doubt, for any Settlement Member to become a Participating
                      Settlement Member and receive a Distribution Amount under this Agreement, he
                      or she must not Opt-out of this Settlement and must timely return a Valid Claim
                      Form.

                5.    Class Counsel shall not be barred by this Agreement from communicating with
                      Settlement Members regarding the settlement or their claims against Unisys,
                      provided such communications are not designed to result in discouraging any
                      Settlement Member’s participation in the Settlement through the end of the Claim
                      Period. Nothing herein shall interfere with Class Counsel’s ability to practice law
                      or to otherwise prosecute Plaintiffs’ claims against the HP Defendants.

        e.       Filing of Consents to Join with Court. Within twenty-two (22) days of the expiration
                 of the Claim Period, the Claims Administrator shall make a copy, and transmit all
                 originals of the Claim Forms submitted by Participating Settlement Members to
                 Defense Counsel, a copy of which shall be provided to Class Counsel. In addition, at
                 the time the Motion for Final Approval is filed, the Claims Administrator shall submit
                 to the Court a declaration verifying full compliance with its Preliminary Approval
                 Order and this Agreement. Should the Agreement not receive Final Approval, or the
                 New York State Settlement Class or the Federal FLSA Settlement Collective fails to
                 be certified or be decertified, the Claim Forms and releases are null and void and shall
                 not be filed with the Court at any time for any purpose whatsoever.

        f.       Timeliness of Submissions. A required mailing sent by a Settlement Member shall be
                 considered timely pursuant to this Agreement if the mailing is sent by U.S. Mail and
                 postmarked on or before the applicable deadline or emailed/faxed and received on or
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                before the applicable deadline. Notwithstanding this requirement, if a Settlement
                Member fails to send a required form by U.S. Mail, email, or facsimile, then the form
                will not be considered valid unless actually received by the Claims Administrator on
                or before the applicable deadline.

        g.      Locating Settlement Members and Returned Notices. If a Settlement Member’s
                Notice packet is returned with a forwarding address, the Notice shall be re-mailed by
                the Claims Administrator to that address within three (3) days following the receipt by
                the Claims Administrator of the returned mail. If a Settlement Member’s Notice packet
                is returned without a forwarding address, the Claims Administrator shall perform a
                standard Level 2 skip trace, in an effort to attempt to ascertain the current address of
                the particular Settlement Member in question and, if such an address is ascertained, the
                Claims Administrator will re-send the Notice within three (3) days of receiving or
                obtaining such information. Unisys will reasonably assist the Claims Administrator in
                performing any such skip traces.

        h.      Disputes.

                1.     If a Settlement Member disputes the number of applicable overtime hours he
                       or she worked as a Service Delivery Employee, he or she must present pay stubs
                       evidencing the number of such overtime hours he or she believes he or she
                       worked while a Service Delivery Employee during the relevant period. Counsel
                       for the Parties shall promptly be notified by the Claims Administrator of any
                       such dispute. The information as to the applicable overtime hours worked, as
                       pre-printed on the Claim Form, shall be determinative of any disputed
                       Distribution Amount, except that a Settlement Member may present to the
                       Claims Administrator one or more Unisys paycheck stub(s) supporting a
                       greater number of such overtime hours. In this event, the number of such
                       overtime hours while a Service Delivery Employee during the relevant period,
                       as reflected on the Unisys paycheck stub(s), will be determinative, unless the
                       Claims Administrator concludes after consultation with Unisys that the Unisys
                       paycheck stub(s) is not authentic, is inaccurate, is incomplete, and/or was
                       altered. The Parties agree that the Claims Administrator’s decision on the
                       number of overtime hours that a Settlement Member during the relevant period
                       worked as a Service Delivery Employee will be final and binding. Settlement
                       Members will be advised in the Notice that, to participate in the Settlement,
                       they must agree to this dispute provision as well.

                2.     If any person contacts any of the Parties or the Claims Administrator during the
                       Claim Period, asserting that he or she should have been sent a Notice and should
                       be entitled to participate in the Settlement but that person is not included in the
                       Class List sent by Unisys to the Claims Administrator, that person shall be
                       instructed by the Party or Claims Administrator to submit the dispute in writing
                       to the Claims Administrator together with any documents or other evidence in
                       support of his or her position. Counsel for the Parties shall be promptly notified
                       of any dispute. The Claims Administrator shall resolve the dispute by making
                       a binding determination as to the issues presented by the claim, after
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                       consultation with the Parties’ Counsel and review of any relevant documents.
                       The Claims Administrator shall inform the potential Settlement Member of the
                       outcome of the dispute. However, in making such a determination, the
                       presumption will be that the records kept by Unisys are accurate.

                3.     If any Settlement Member contacts Unisys or Defense Counsel about the
                       Settlement, he or she will be instructed to contact the Claims Administrator. It
                       is the intent of the Parties that the Claims Administrator will be the initial
                       interface with Settlement Members about this Settlement and administration of
                       the Settlement. However, should the Settlement Member’s inquiry be legal in
                       nature, the Claims Administrator shall immediately refer the Settlement
                       Member to Class Counsel.

        i.      Non-interference with Claims Procedure. The Parties and their counsel agree that
                they shall not seek to solicit or otherwise encourage Settlement Members to submit
                requests for exclusion or objections to the Settlement or to appeal from the Final
                Approval Order.

        j.      Procedures for Objecting to the Settlement.

                1.     Settlement Members who do not Opt-out and who wish to object to the
                       proposed Settlement should file and serve such written objection no later than
                       sixty (60) days after the Notice is mailed to the Settlement Member. The
                       Notices mailed to Settlement Members shall contain the requirements and
                       information set forth in this subsection.

                2.     To object, Settlement Members should file with the Claims Administrator a
                       written statement describing their reasons for objecting to the Settlement. The
                       Claims Administrator shall provide Class Counsel and Defense Counsel with
                       any objections received and file such objections with the Court. The written
                       objection should contain a description of all reasons the objecting Settlement
                       Member objects to the settlement.

                3.     Settlement Members who do not Opt-out of the Settlement and who do not
                       submit a written objection to the Claims Administrator may still appear at the
                       Final Approval/Fairness Hearing and object.

                4.     Persons who are not Settlement Members may not object to the Settlement, and
                       any objections filed by such persons will be null and void.

        k.      Procedure for Opting Out of the Settlement. Settlement Members who wish to Opt-
                out of the Settlement must submit to the Claims Administrator a request to Opt-out that
                includes their name, address, and telephone number, postmarked no later than the end
                of the Claim Period. A Settlement Member will not be entitled to Opt-out of the
                Settlement established by this Agreement unless he or she does all of the following: (i)
                makes a proper written request to Opt-out of the Settlement, (ii) signs the Opt-out
                request, and (iii) returns the Opt-out request so that it is postmarked on or before the
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                expiration of the Claim Period. It shall be conclusively presumed that, if an Opt-out
                request is not postmarked on or before the end of the Claim Period, the Settlement
                Member did not make the request in a timely manner. If, however, the Settlement
                Member submits a Valid Claim Form, his or her Opt-out request will be void. The
                Notices mailed by the Claims Administrator shall contain the requirements and
                information set forth in this subsection.

14.     Releases.

        a.      Upon the Effective Date, all members of the New York State Settlement Class, who
                have not timely opted out, including each of their respective successors, assigns, heirs,
                executors, administrators, beneficiaries, legal representatives, trustees, and estates,
                shall be deemed to fully, forever, irrevocably, and unconditionally release, remise, and
                discharge the Released Parties from any and all Claims against the Released Parties or
                any of them arising from, relating to or based on any state or local law (both statutory
                and common law) pertaining in any way to wages or hours worked, including minimum
                wage, overtime, unreimbursed expenses, interest, liquidated damages, punitive
                damages, attorneys’ fees, costs and expenses, hours of work, record keeping/wage
                statements, payment of wages and overtime, and/or frequency of pay while employed
                by the Released Parties, including, without limitation, all state and local wage and hour
                statutory and common law Claims that were asserted or could have been asserted
                against the Released Parties in this Action, including under the New York State Labor
                law and its related regulations and wage orders, regarding events that occurred or are
                alleged to have occurred from the beginning of time until the date of the Final Approval
                Order; provided, however, Claims shall not include any Claims that were asserted or
                could have been asserted under federal law including the Fair Labor Standards Act, 29
                U.S.C. § 201, et seq.

        b.      Upon the Effective Date, and in addition to the release contained in Section 14(a), all
                members of the Federal FLSA Settlement Collective who submit a Valid Claim Form
                and thus become Participating Settlement Members, including each of their respective
                successors, assigns, heirs, executors, administrators, beneficiaries, legal
                representatives, trustees, and estates, shall be deemed to fully, forever, irrevocably, and
                unconditionally release, remise, and discharge the Released Parties from any and all
                Claims against the Released Parties or any of them arising from, relating to, or based
                on federal law (both statutory and common law) pertaining in any way to wages or
                hours worked, including minimum wage, overtime, unreimbursed expenses, interest,
                liquidated damages, punitive damages, attorneys’ fees, costs and expenses, hours of
                work, record keeping/wage statements, payment of wages and overtime, and/or
                frequency of pay while employed by the Released Parties, including, without
                limitation, all Claims that were asserted or could have been asserted now or in the
                future against the Released Parties in this Action, including under the Fair Labor
                Standards Act, 29 U.S.C. § 201, et seq., and its regulations, regarding events that
                occurred or are alleged to have occurred from the beginning of time until the date of
                the Final Approval Order.


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        c.      Except as provided in this Agreement, upon payment of the Attorneys’ Fees and
                Lawsuit Costs approved by the Court, Class Counsel and the Settlement Class
                Representative hereby irrevocably and unconditionally release, acquit, and forever
                discharge any Claim that he or they may have against the Released Parties for
                attorneys’ fees, expenses, or costs associated with Class Counsel’s representation of
                the Settlement Class Representative and the Settlement Class/Collective. Class
                Counsel further understands and agrees that any fee payments approved by the Court
                will be the full, final, and complete payment of all attorneys’ fees, expenses, and costs
                associated with Class Counsel’s representation in the Action with respect to Unisys.

        d.      For the avoidance of doubt, none of Hewlett-Packard Company, HP Inc., Hewlett
                Packard Enterprise Company or any entities related to the foregoing shall be
                considered Releasees. Moreover, nothing contained herein shall operate to release or
                waive any Claims that are not waivable as a matter of law or that the Settlement Class
                Representative and Settlement Members may have against Hewlett-Packard Company,
                HP Inc., Hewlett Packard Enterprise Company, any/or related entities asserted in the
                instant litigation under Docket Number 20-cv-00974 or otherwise.
15.     Covenant Not to Sue. The Settlement Class Representative, New York State Settlement Class
        Members who do not timely Opt-out of this Settlement, and Federal FLSA Settlement
        Collective Members who submit a Valid Claim Form and thus become Participating
        Settlement Members promise not to file a lawsuit in any court, or participate as a party,
        including, but not limited to, as a class or collective action member in any legal proceedings,
        in any forum, against the Released Parties, for any Claim included and released in the
        Release(s) in Sections 14(a) through 14(c), above as applicable. In consideration of the
        promises made by Unisys in this Agreement, the Settlement Class Representative, each New
        York State Settlement Class Member who does not timely Opt-out of this Settlement, and each
        Federal FLSA Settlement Collective Member who submits a Valid Claim Form and thus
        becomes a Participating Settlement Member agrees never to institute any Claim in any court
        of the United States, state, or municipality, or any arbitration or other legal forum, against
        Unisys for any Claim included in the Release(s) in Sections 14(a) through 14(c), above as
        applicable. The Settlement Class Representative, New York State Settlement Class Members
        who do not timely Opt-out of this Settlement, and Federal FLSA Settlement Collective
        Members who submit a Valid Claim Form and thus become Participating Settlement Members
        also agree that they will not join, participate in, or consent to Opt-in to any actions alleging
        that they are similarly situated to any other employee with respect to any such released claims,
        and that they will elect to Opt-out of any such actions against Unisys of which they are
        involuntarily made a member or participant (except that the term “participant” does not apply
        to or include serving as a witness in another proceeding). If the Settlement Class
        Representative, any New York State Settlement Class Member who does not timely Opt-out
        of this Settlement, or any Federal FLSA Settlement Collective Member who submits a Valid
        Claim Form and thus becomes a Participating Settlement Member is joined in any class or
        collective lawsuits for any released claims, he or she will receive no further compensation of
        any kind for such released claim. The Settlement Class Representative, New York State
        Settlement Class Members, and Federal FLSA Settlement Collective Members further
        acknowledge and agree that the covenant not to sue is an essential and material term of this
        Agreement, and that no settlement could have been reached by the Parties without this term.

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        The Settlement Class Representative, New York State Settlement Class Members, and Federal
        FLSA Settlement Collective Members affirm that they understand and acknowledge the
        significance and consequence of this specific term of the Agreement. Nothing in this
        Agreement shall prohibit or restrict any Settlement Member from filing a charge, testifying,
        assisting, or participating in any manner in an investigation hearing or proceeding; responding
        to any inquiry; or otherwise communicating with, any administrative or regulatory (including
        any self-regulatory) agency or authority.

16.     Dismissal of Lawsuit. The Court’s Final Approval Order shall order that the Action is
        dismissed with prejudice as it pertains to Unisys pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).
        In addition, following payment of the Distribution Amounts, the Claims Administrator shall
        provide a written certification of such payments to Counsel for the Parties.

17.     Voiding the Settlement Agreement.

        a.      This Agreement is contingent upon the Court’s approval of the Settlement and
                certification of the New York State Settlement Class and the Federal FLSA Settlement
                Collective. If the Court refuses to issue a Preliminary or Final Approval Order or to
                certify the New York State Settlement Class or the Federal FLSA Settlement
                Collective, or the Effective Date does not occur, after the expiration of the Good Faith
                Period this Agreement may be voided at either Party’s option, in which case this
                Agreement and any exhibits, as well as prior negotiations, understandings, or
                agreements relating to the resolution of this Action, will not be admissible as evidence
                or otherwise and may not be used for any purpose in connection with any further
                litigation in this Action or any other lawsuit, administrative, or other legal proceeding,
                claim, investigation, or complaint.

        b.      Unisys, at its sole discretion, may withdraw from and void this Agreement by providing
                notice to Class Counsel and to the Court within ten (10) days after the Claims
                Administrator provides the Parties with a list of all New York State Settlement
                Members who have Opted out of this Action, but only if fifteen percent (15%) or more
                of the members of the New York State Settlement Class exercise their rights to Opt-
                out and be excluded from the New York State Settlement Class and this Agreement.
                If fifteen percent (15%) or more of the members of the New York State Settlement
                Class Opt-out of this Action, Unisys shall have the right, notwithstanding any other
                provisions of this Agreement, to withdraw from this Agreement, whereupon the
                Agreement will be null and void for all purposes, except the Good Faith provisions,
                and may not be used or introduced in further litigation or any other proceeding of any
                kind. For the avoidance of doubt, to the extent any Settlement Member withdraws from
                the Action prior to the date of the Preliminary Approval Order, such withdrawal will
                count towards the fifteen percent (15%) threshold discussed above, provided, further,
                however, any such person will still receive the Notice and Claim Form and will be
                bound by the terms of this Agreement.

        c.      All and any additional lawsuits filed by Settlement Members until the date of
                Preliminary Approval asserting Claims encompassed within Sections 14(a) and 14(b)
                of this Agreement and filed in federal court prior to Final Approval, if feasible, shall
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                be added to this Settlement under the terms of this Agreement and dismissed following
                Final Approval, unless such Settlement Member Opts-out of the Settlement. Defense
                Counsel agrees to timely identify such pending lawsuits.

18.     Return of Documents. Any documents and information that have been produced by Unisys
        as part of the Action from its inception until execution of this Agreement, including all copies,
        excerpts, and electronic versions thereof, shall be destroyed by Class Counsel, or returned to
        Defense Counsel within ten (10) days after the end of the Check Cashing period.
        Notwithstanding this provision, Class Counsel may retain copies of such documents to the
        extent and for the duration of time required by applicable ethical rules provided that the terms
        of the parties’ Confidentiality Order endorsed by the Court on October 28, 2020 shall
        otherwise remain in effect.

19.     No Retaliation.

        a.      Consistent with its legal obligations, Unisys will not retaliate against any Settlement
                Members. Neither Party will retaliate against any Settlement Members based on his or
                her decision to participate or not to participate in this Action and/or the Settlement.

        b.      Unisys will not discourage Settlement Members from submitting claims for
                Distribution Amounts. Class Counsel will promptly notify Defense Counsel of any
                complaints by Settlement Members about any conduct by any Unisys management
                employee regarding this obligation.

20.     Mutual Full Cooperation. The Parties agree to fully cooperate with each other to accomplish
        the terms of this Agreement, including, but not limited to, execution of such documents as may
        be necessary to implement the terms of this Agreement. The Parties shall use their best efforts
        to effectuate this Agreement, including during any appeals. As soon as practicable after
        execution of this Agreement, Class Counsel shall, with the assistance and cooperation of
        Defense Counsel, take all necessary steps to secure the Preliminary and Final Approval Order
        and certification of the New York State Settlement Class and the Federal FLSA Settlement
        Collective. The Settlement Class Representative, Class Counsel, and Unisys each agree to
        abide by the terms of this Agreement in good faith and to support it fully, and shall use their
        best efforts to defend it from any legal challenge, whether by appeal or collateral attack.

21.     Non-Waiver. No delay or omission by either Party in exercising any right under this
        Agreement shall operate as a waiver of that or any other right. A waiver or consent given by a
        Party on any one occasion shall be effective only in that instance and shall not be construed as
        a bar or waiver of any right on any other occasion.

22.     Complete Agreement. Other than as stated herein, the Parties warrant that no representation,
        promise, or inducement has been offered or made to induce any Party or Settlement Member
        to enter into this Agreement, and that they are competent to execute this Agreement and accept
        full responsibility therefor. This Agreement contains the entire, complete, and integrated
        statement of each and every term and provision agreed to by and among the Parties, and
        constitutes the entire understanding and agreement between the Parties and supersedes all
        previous oral and written negotiations, agreements, commitments, and writings in connection
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        therewith. This Agreement may not be amended or modified except by a writing signed by
        authorized representatives of all Parties. For the avoidance of doubt, to the extent any
        Settlement Member previously signed with Unisys a Confidential Settlement Agreement and
        General Release and/or a Separation and Release Agreement (including any Mutual
        Arbitration Agreement), the terms of such agreements shall remain in full force and effect.

23.     Knowing and Voluntary Agreement. The Parties each agree that they are entering into this
        Agreement knowingly, voluntarily, and with full knowledge of its significance. The Parties
        further affirm that they have not been coerced, threatened, or intimidated into signing this
        Agreement; that they have been advised to consult with an attorney; and that they in fact have
        consulted with an attorney before signing this Agreement. Class Counsel represent that they
        have conducted a thorough investigation into the facts of the Action and have diligently
        pursued an investigation of the claims asserted on behalf of Settlement Members against
        Unisys.

24.     Notifications and Communications. Any notifications and communications made pursuant
        to, required by or otherwise in connection with the terms of this Agreement shall be sent to the
        Parties at the addresses of their respective counsel as follows:

         For Settlement Class Representative             For Unisys, to:
         and Settlement Members, to:

         Paul Andrew Pagano, Esq.                        Kenneth W. DiGia, Esq.
         Law Office of Paul A. Pagano, P.C.              Epstein, Becker & Green, P.C.
         100 Duffy Avenue, Suite 510                     875 Third Avenue
         Hicksville, NY 11801                            New York, NY 10022
         paul@lawofficepaulpagano.com                    kdigia@ebglaw.com


25.     Severability. If any part of this Agreement is found to be illegal, invalid, inoperative, or
        unenforceable in law or equity, such finding shall not affect the validity of any other provisions
        of this Agreement, which shall be construed, reformed, and enforced to effect the purposes
        thereof to the fullest extent permitted by law. If one or more of the provisions contained in
        the Agreement shall for any reason be held to be excessively broad in scope, subject matter,
        or otherwise, so as to be unenforceable, the Parties agree that such provision(s) shall be
        construed to be limited or reduced so as to be enforceable to the maximum extent under the
        applicable law, subject to the provisions of Section 3(g) permitting any Party to void the
        Agreement in the event of a change to a material term.

26.     Enforcement of Settlement Agreement and Governing Law. This Agreement shall be
        governed by New York law, without regard to that state’s choice of law provisions. The Parties
        also hereby submit to the jurisdiction of the Court for all purposes relating to the review,
        approval, and enforcement of the terms of this Agreement. The Parties agree that the Court
        shall retain jurisdiction to enforce the terms of this Agreement unless specifically set forth
        otherwise herein.


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27.     No Settlement Party Is the Drafter. No Party shall be considered to be the drafter of this
        Settlement Agreement or any provision hereof for the purpose of any statute, case law, or rule
        of construction that would or might cause any provision to be construed against the drafter
        hereof. This Agreement was drafted with the input by all Parties upon consultation with their
        counsel, and no reliance was placed on any representations other than those contained herein.

29.     Headings Not Controlling. The headings in this Settlement Agreement have been inserted
        for convenience only and are not to be considered when construing the provisions of this
        Settlement Agreement.

30.     Calculation of Time Periods. All time periods set forth herein shall be computed in calendar
        days unless otherwise expressly provided. In computing any period of time prescribed or
        allowed by this Settlement Agreement or by order of the Court, the day of act, event, or default
        from which the designated period of time begins to run shall not be included. The last day of
        the period so computed shall be included, unless it is a Saturday, a Sunday or a legal holiday,
        or, when the act to be done is the filing of a party in Court, a day on which weather or other
        conditions have made the office of the Clerk of the Court inaccessible, in which event the
        period shall run until the end of the next day that is not one of the observance of New Year’s
        Day, the birthday of Dr. Martin Luther King, Jr., Presidents’ Day, Memorial Day,
        Independence Day, Labor Day, Columbus Day, Veterans Day, Thanksgiving Day, Christmas
        Day, and any other day appointed as a federal or a New York state holiday on which the Court
        is closed.

31.     Agreement Form and Construction.

        a.      The Parties agree that the terms and conditions of this Agreement are the result of
                lengthy, carefully considered, arms-length negotiations between the Parties and that
                this Agreement shall not be construed in favor of or against any of the Parties by reason
                of their participation in the drafting of this Agreement.

        b.      This Agreement may not be changed, altered, or modified, except in writing and signed
                by counsel for the Parties, and, if material, approved by the Court. This Agreement
                may not be discharged except by performance in accordance with its terms or by a
                writing signed by counsel for the Parties.

        c.      To the extent necessary to effectuate the terms of this Agreement, including, without
                limitation, the meaning of any defined terms, the singular shall be construed as the
                plural and the plural construed as the singular, except where a plain reading of the
                language indicates that the use of the singular or plural is intended.

        d.      This Agreement shall be binding upon and inure to the benefit of the Parties and the
                Settlement Members, and their collective respective successors, assigns, heirs,
                executors, administrators, beneficiaries, legal representatives, trustees, and estates.

        e.      The Notices will advise all Settlement Members of the binding nature of the
                Agreement. Submission of a Valid Claim Form or cashing of the Distribution Amount


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                           check shall have the same foroe and efftct as if'each Participating
                                                                                               Settlement Mernber
                           signed this Agreement.

               f'          'lhis Agreernent mey be executed
                                                                 in electrcnic counterparts, and when each parry has
                           signed and deliver:ed at lEast one suoh counterpafi, each counterpart
                                                                                                     shall be deenred
                           an original, and, rvhen taken togcthcr wilh other signed counteriarrs,,
                                                                                                       shall constituts
                           one Agreeinsnt, which shall be bincling upon the Hffective
                                                                                         Date as to nil parties *uU;*ri
                           to the terms and corrclitions proviclcd hercin.

               g.          This Agreement shall be construed ancl interpreted to effectuate the irrtent of the
                           Fafties, which is to prr:vide, through this Agreement, Ibr a complete
                                                                                                 resolution of t5e
                           releasecl claims.

               h.          ln the event of alr incorrsistency between the (l) Notice and/or Clainr Form;
                                                                                                            ancl (2)
                           the Settlemsnt A$eement, this Agrcelnent.shall govern.

               N wlTNns$ wHERIloli, the I'arties each voluntarily ancl without coercion have caused
      tltis Agreenrent to be signed ancl entered under seal as of the respective dates written
                                                                                               lrelow as their
      free acts and deeds.



                 Clnrporatiun:


                            Elsner                                                        DA
      V President, Depuf General Counsel
      Global Head of limployment l-aw
      and Chief Privacy Officer




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                                       #: 10191


 Settlement Class Representative:

 ____________________________________             ____________________________
 Douglas Sorbie                                         DATE

 Law Office of Paul Pagano, P.C.:
 100 Duffy Avenue, Suite 501
 Hicksville, NY 11801
 (917) 589-1479

 ____________________________________                6/20/2024
                                                  ____________________________
 Paul Pagano                                            DATE

 Law Office of Jason L. Abelove, P.C.:
 666 Old Country Road, Suite 303
 Garden City, NY 11530-2014
 (516) 222-7000

 ____________________________________             ____________________________
 Jason L. Abelove                                       DATE

 Law Offices of Anthony J. LoPresti:
 585 Stewart Avenue, Suite 544
 Garden City, NY 11530
 (516)739-2020

 ____________________________________             ____________________________
 Anthony J. LoPresti                                    DATE

 Law Offices of Yale Pollack, P.C.:
 66 Split Rock Road
 Syosset, NY 11791
 (516) 634-6340

 ____________________________________             ____________________________
 Yale Pollack                                           DATE




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                                                  June 21, 2024
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                                       #: 10193


 Settlement Class Representative:

 ____________________________________             ____________________________
 Douglas Sorbie                                         DATE

 Law Office of Paul Pagano, P.C.:
 100 Duffy Avenue, Suite 501
 Hicksville, NY 11801
 (917) 589-1479

 ____________________________________                6/20/2024
                                                  ____________________________
 Paul Pagano                                            DATE

 Law Office of Jason L. Abelove, P.C.:
 666 Old Country Road, Suite 303
 Garden City, NY 11530-2014
 (516) 222-7000

 ____________________________________             ____________________________
 Jason L. Abelove                                       DATE

 Law Offices of Anthony J. LoPresti:
 585 Stewart Avenue, Suite 544
 Garden City, NY 11530
 (516)739-2020

 ____________________________________             ____________________________
 Anthony J. LoPresti                                    DATE

 Law Offices of Yale Pollack, P.C.:
 66 Split Rock Road
 Syosset, NY 11791
 (516) 634-6340

 ____________________________________                6/20/2024
                                                  ____________________________
 Yale Pollack                                           DATE




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                               EXHIBIT A
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------X
                                                                    :
  TONY CACCAVALE, ANTHONY MANGELLI,                                 :
  DOUGLAS SORBIE, and JAMES BILLUPS,                                :   2:20-cv-00974 (NJC)(ST)
  individually and on behalf of all others similarly                :
  situated,                                                         :
                                                                    :
                        Plaintiffs,                                 :
                        v.                                          :
                                                                    :
  HEWLETT-PACKARD COMPANY A/K/A HP                                  :
  INC., HEWLETT PACKARD ENTERPRISE                                  :
  COMPANY and UNISYS CORPORATION,                                   :
                                                                    :
                        Defendants.                                :
                                                                   :
  -----------------------------------------------------------------X

      [PROPOSED] ORDER GRANTING PLAINTIFF DOUGLAS SORBIE AND
   DEFENDANT UNISYS CORPORATION’S JOINT MOTION FOR PRELIMINARY
     APPROVAL OF SETTLEMENT, CONDITIONAL CERTIFICATION OF THE
   SETTLEMENT CLASS/COLLECTIVE, APPROVAL OF PROPOSED NOTICE OF
  SETTLEMENT AND CLAIM FORM, APPROVAL OF SETTLEMENT PROCEDURE,
 APPOINTMENT OF PLAINTIFF’S COUNSEL AS CLASS COUNSEL, APPOINTMENT
              OF CLAIMS ADMIN, AND INJUNCTIVE RELIEF


          The above-entitled matter came before the Court on Plaintiff Douglas Sorbie (“Plaintiff”

 or “Sorbie”) and Defendant Unisys Corporation's (“Defendant” or “Unisys” and collectively the

 “Parties”) Joint Motion for Preliminary Approval of Class and Collective Action Settlement,

 Conditional Certification of the Settlement Class/Collective, Appointment of Plaintiff’s Counsel

 as Class Counsel, and Approval of the Parties’ Proposed Notice of Settlement (“Motion for

 Preliminary Approval”). Unless provided elsewhere herein, capitalized terms used in this Order

 shall have the meanings set forth in the parties’ Settlement Agreement and Release.

          Solely for settlement purposes of this matter, the Court grants the relief sought herein

 including conditional certification by the Court of the New York State Settlement Class as a



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 Federal Rule of Civil Procedure 23 class and the Federal FLSA Settlement Collective pursuant to

 29 U.S.C. § 216(b).

 I.       Preliminary Approval of Settlement

          1.       Based upon the Court’s review of the Parties’ Motion for Preliminary Approval and

 all papers submitted in support thereof, the Court grants preliminary approval of the settlement

 memorialized in the Settlement Agreement and Release (“Settlement Agreement” or

 “Agreement”) between Plaintiff and Defendant, and hereby conditionally approves all the

 Settlement Agreement’s terms, subject to further consideration thereof at the Final Approval

 Hearing provided for below.

          2.       Courts have discretion regarding the approval of a proposed class action settlement.

 Maywalt v. Parker & Parsley Petroleum Co., 67 F.3d 1072, 1079 (2d Cir. 1998). In exercising this

 discretion, courts should give weight to the parties’ consensual decision to settle class action cases

 because they and their counsel are in unique positions to assess potential risks. See Clark v. Ecolab,

 Inc., Nos. 07 Civ. 8623, 04 Civ. 4488, 06 Civ. 5672, 2009 WL 6615729, at *3 (S.D.N.Y. Nov. 27,

 2009).

          3.       Preliminary approval, which is what the Parties seek here, is the first step in the

 settlement process. Hartley v. Wells Fargo & Co., Civil Action No. 14-cv-5169 (JMA) (ARL),

 2016 U.S. Dist. LEXIS 139874, at *7 (E.D.N.Y. Sep. 30, 2016). It simply allows notice to issue

 to the class and for class members to object to or opt-out of the settlement. After the notice period,

 the Court will be able to evaluate the settlement with the benefit of the class members’ input. Clark,

 2009 WL 6615729, at *3.

          4.       Preliminary approval of a settlement agreement requires only an “initial evaluation”

 of the fairness of the proposed settlement on the basis of written submissions and, in some cases,



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 an informal presentation by the settling parties. Clark, 2009 WL 6615729, at *3 (citing Herbert B.

 Newberg & Alba Conte, Newberg on Class Actions (“Newberg”) § 11.25 (4th ed. 2002)). Courts

 often grant preliminary settlement approval without requiring a hearing or a court appearance. See

 Hernandez v. Merrill Lynch & Co., Inc., No. 11 Civ. 8472, 2012 WL 5862749, at *1 (S.D.N.Y.

 Nov. 15, 2012) (granting preliminary approval based on plaintiffs’ memorandum of law, attorney

 declaration, and exhibits); Palacio v. E*TRADE Fin. Corp., No. 10 Civ. 4030, 2012 WL 1058409,

 at *1 (S.D.N.Y. Mar. 12, 2012) (same). To grant preliminary approval, the court need only find

 that there is “probable cause to submit the [settlement] proposal to class members and hold a full-

 scale hearing as to its fairness.” In re Traffic Exec. Ass’n, 627 F.2d 631, 634 (2d Cir. 1980) (internal

 citation omitted). If the proposed settlement “appears to fall within the range of possible approval,”

 the court should order that the class members receive notice of the settlement. Clark, 2009 WL

 6615729, at *3.

          5.       The Court has reviewed the terms and conditions of the Settlement Agreement,

 including the monetary relief provisions, the plan of allocation, and the releases of claims. The

 Court concludes that the proposed Settlement Agreement is within the range of final settlement

 approval such that notice to the class is appropriate. See In re Traffic Exec. Ass’n, 627 F.2d at 634;

 Reade-Alvarez v. Eltman, Eltman & Cooper, P.C., 237 F.R.D. 26, 33 (E.D.N.Y. 2006). The Court

 further finds that the Settlement Agreement is fair, reasonable, and adequate within the meaning

 of Fed. R. Civ. P. 23. The Settlement will ensure prompt payment to class and collective members

 and avoid the continued risks and expense of additional litigation. The Settlement is in the best

 interest of the Settlement Class Representative (namely, Plaintiff Douglas Sorbie) and the

 members of the Settlement Class/Collective.




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          6.       The Court finds that the Settlement Agreement is the result of arms’ length

 negotiations by counsel well-versed in the prosecution of wage and hour class and collective

 actions. Hartley, 2016 U.S. Dist. LEXIS 139874, at *8. “Fairness is determined upon review of

 both the terms of the settlement agreement and the negotiating process that led to such agreement.”

 Frank v. Eastman Kodak Co., 228 F.R.D. 174, 184 (W.D.N.Y. 2005). “Absent fraud or collusion,

 [courts] should be hesitant to substitute [their] judgment for that of the parties who negotiated the

 settlement.” In re EVCI Career Colls. Holding Corp. Sec. Litig., Nos. 05 Civ. 10240, 05 Civ.

 10287, 05 Civ. 10515, 05 Civ. 10610, 06 Civ. 304, 06 Civ. 347, 06 Civ. 1684, 2007 WL 2230177,

 at *4 (S.D.N.Y. July 27, 2007).

          7.       Courts should grant preliminary approval where the settlement agreement has “no

 obvious defects.” See Alli v. Boston Market Corp., No. 10 Civ. 00004, 2011 WL 6156938, at *3

 (D. Conn., Dec. 9, 2011). The Court finds that the Settlement Agreement presented here has “no

 obvious defects” that prevent preliminary approval.

 II.      Conditional Certification of the Proposed Rule 23 Settlement Class

          8.       Provisional settlement class certification and appointment of class counsel have

 several practical purposes, including avoiding the costs of litigating class status while facilitating

 a global settlement, ensuring notification of all class members of the terms of the proposed

 settlement agreement, and setting the date and time of the final approval hearing. See In re Gen.

 Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 790–92 (3d Cir. 1995)

 (discussing the advantages of certifying classes for settlement purposes); Dorn v. Eddington Sec.,

 Inc., No. 08 Civ. 10271, 2011 WL 382200, at *1 (S.D.N.Y. Jan. 21, 2011) (conditionally certifying

 wage and hour settlement class and granting preliminary approval of settlement).




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          9.       Therefore, the Court certifies the following class under Fed. R. Civ. P. 23(e) for

 settlement purposes (“New York State Settlement Class”):

          Current or former employees of Unisys (including the Named Plaintiffs) who are
          or were employed at any time by Unisys in New York based on a Unisys-assigned
          New York work location, during the period February 21, 2014 through October 20,
          2023 in one or more of the following positions in the Service Delivery Employee
          job family: Field Engineer 1, Field Engineer 2, Field Engineer 3, Field Engineer 4,
          Customer Engineer 2, Customer Engineer 3, Customer Engineer 4, Customer
          Engineer 5, Customer Engineer 6, Client Infrast Rep 3-Barg Unit, Client Infrast
          Rep 4-Bar Unit, Client Infrast Rep 5-Barg Unit, UTS Field Svc Associate, UTS
          Field Svc Tech 1, UTS Field Svc Tech 2, UTS Field Svc Tech 3, UTS Field Svc
          Tech 4, or UTS Field Svc Tech 5 (collectively “Service Delivery Employees”).

          Additionally, for the reasons previously set forth in this Court’s May 28, 2021 Order

 Regarding Conditional Certification, Issuance of Collective Action Notice and Disclosure of

 Contact Information (ECF No. 83), the Court conditionally certified a collective action under 29

 U.S.C. § 216(b) and notice was sent out. As a result of the opt-in process and the Settlement

 Agreement, the Federal FLSA Settlement Collective is now defined as:

          All Settlement Members limited to the period December 17, 2017 through October
          20, 2023.

          10.      Plaintiff meets all of the requirements for class certification under Federal Rule of

 Civil Procedure 23(a) and (b)(3).

          11.      Plaintiff satisfies Federal Rule of Civil Procedure 23(a)(1) because there are 295

 Settlement Class Members and, thus, joinder is impracticable. See Consol. Rail Corp. v. Town of

 Hyde Park, 47 F.3d 473, 483 (2d Cir. 1995) (“[N]umerosity is presumed at a level of 40

 members.”).

          12.      Plaintiff satisfies Federal Rule of Civil Procedure 23(a)(2) because he and the New

 York State Settlement Class members share common issues of fact and law, including whether

 Unisys failed to pay them overtime wages within the period of time set forth in New York Labor



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 Law § 191(1)(a). Cf. Morris v. Affinity Health Plan, Inc., 859 F. Supp. 2d 611, 615-16 (S.D.N.Y.

 2012) (commonality satisfied where, among other allegations, plaintiffs claimed that defendant

 had policy of not paying all class members overtime pay); Clark v. Ecolab Inc., Nos. 07 Civ. 8623,

 04 Civ. 4488, 06 Civ. 5672, 2010 WL 1948198, at *3 (S.D.N.Y. May 11, 2010) (common issues

 that help to satisfy Rule 23 commonality requirement include “whether [Defendant] failed to pay

 Plaintiffs and the state settlement Class Members overtime premium pay for all hours they worked

 over 40 in a workweek”).

          13.      Plaintiff satisfies Federal Rule of Civil Procedure 23(a)(3) because his pay-

 frequency claim arises from the same factual and legal circumstances that form the bases of the

 New York State Settlement Class members’ claims (i.e., Unisys’s overtime pay frequency

 practices). See Westerfield v. Wash. Mut. Bank, No. 06-CV-2817 (CBA)(JMA), 2009 U.S. Dist.

 LEXIS 54553, at *7 (E.D.N.Y. June 24, 2009) (typicality satisfied where Plaintiffs’ claims for

 overtime pay arose from same factual and legal circumstances that form the bases of class

 members’ claims); Morris, 859 F. Supp. 2d at 616 (same).

          14.      Plaintiff satisfies Federal Rule of Civil Procedure 23(a)(4) because there is no

 evidence that his and the New York State Settlement Class members’ interests are at odds. See

 Hartley, 2016 U.S. Dist. LEXIS 139874, at *10 (no evidence that named plaintiffs’ and class

 members’ interests were at odds).

          15.      In addition, Plaintiff’s Counsel also meets Rule 23(a)(4)’s adequacy requirement

 because they are experienced in wage and hour litigation, including class and collective actions,

 and thus are well-qualified to represent the Class.

          16.      Plaintiff also satisfies Rule 23(b)(3). Common factual allegations and a common

 legal theory predominate over any factual or legal variations among the New York State Settlement



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 Class members. Cf. Hartley, 2016 U.S. Dist. LEXIS 139874, at *11 (common factual allegations

 and legal theory predominated over variations in wage and hour misclassification case); Torres v.

 Gristede’s Corp., No. 04 Civ. 3316, 2006 WL 2819730, at *16 (S.D.N.Y. Sept. 29, 2006) (plaintiff

 “introduced sufficient proof that Defendants engaged in a common practice to deny employees

 overtime pay,” and “this issue predominates over any individual calculations of overtime wages”).

 Class adjudication of this case is superior to individual adjudication because it will conserve

 judicial resources and is more efficient for class members, particularly those who lack the

 resources to bring their claims individually. See Morris, 859 F. Supp. 2d at 617; Damassia v.

 Duane Reade, Inc., 250 F.R.D. 152, 161, 164 (S.D.N.Y. 2008).

 III.     Appointment of Plaintiff’s Counsel as Class Counsel and Appointment of
          Administrator

          17.      The Court appoints Paul A. Pagano of the Law Office of Paul A. Pagano, P.C.;

 Jason L. Abelove of the Law Office of Jason L. Abelove, P.C.; Anthony J. LoPresti of the Law

 Offices of Anthony J. LoPresti; and Yale Pollack of the Law Offices of Yale Pollack, P.C., as

 Class Counsel because they meet all of the requirements of Federal Rule of Civil Procedure 23(g).

 See Damassia, 250 F.R.D. at 165 (explaining that Rule 23(g) requires the court to consider “the

 work counsel has done in identifying or investigating potential claims in the action, … counsel’s

 experience in handling class actions, other complex litigation, and claims of the type asserted in

 the action, … counsel’s knowledge of the applicable law, and … the resources counsel will commit

 to representing the class”) (internal quotation marks omitted).

          18.      Plaintiff’s Counsel did substantial work identifying, investigating, prosecuting, and

 settling Plaintiff’s and the New York State Settlement Class members’ claims.




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          19.      Class Counsel are experienced class action litigators and are “well-versed in wage

 and hour and class action law.” Johnson v. Brennan, No. 10 Civ. 4712, 2011 WL 1872405, at *2

 (S.D.N.Y. May 17, 2011) (internal quotation marks omitted).

          20.      The work that Class Counsel has performed both in litigating and settling this case

 demonstrates their skill and commitment to representing the Class’s interests. See Hartley, 2016

 U.S. Dist. LEXIS 139874, at *12.

          21.      In addition, the Court appoints Rust Consulting as a third-party administrator.

 IV.      Notice

          22.      The Court approves the Proposed Notice of Class Action Settlement (“Proposed

 Notice”), filed on June 24, 2024, and directs its distribution to the Class.

          23.      The content of the Proposed Notice fully complies with due process and Federal

 Rule of Civil Procedure 23. Pursuant to Fed. R. Civ. P. 23(c)(2)(B), a notice must provide:

          the best notice practicable under the circumstances, including individual notice to
          all members who can be identified through reasonable effort. The notice must
          concisely and clearly state in plain, easily understood language: the nature of the
          action; the definition of the class certified; the class claims, issues, or defenses; that
          a class member may enter an appearance through counsel if the member so desires;
          that the court will exclude from the class any member who requests exclusion,
          stating when and how members may elect to be excluded; and the binding effect of
          a class judgment on class members under Rule 23(c)(3).

 Fed. R. Civ. P. 23(c)(2)(B).

          24.      The Proposed Notice satisfies each of these requirements and adequately puts the

 Settlement Class/Collective members on notice of the proposed settlement. See, e.g., In re Michael

 Milken & Assocs. Sec. Litig., 150 F.R.D. 57, 60 (S.D.N.Y. 1993) (class notice “need only describe

 the terms of the settlement generally”); Johnson, 2011 WL 1872405, at *3. The Proposed Notice

 is also appropriate because it describes the terms of the settlement, informs the class about the




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 allocation of attorneys’ fees, and provides specific information regarding the date, time, and place

 of the final approval hearing. Hernandez, 2012 WL 5862749, at *5.

 V.       Injunction

          25.      Pursuant to the All Writs Act, 28 U.S.C. § 1651(a), the Court hereby enjoins all

 Settlement Members from initiating lawsuits asserting Claims encompassed within Sections 14(a)

 and 14(b) of the Agreement against Unisys on behalf of any class or collective of Service Delivery

 Employees, until such time as Final Approval has been granted.

 VI.      Class Action Settlement Procedure

          26.      The Court hereby adopts the following settlement procedure:

                   a.   Within 21 days of the date of this Order, Unisys shall provide to the Claims

                        Administrator a Class List. Within 14 days of receiving such information, the

                        Claims Administrator shall mail the Notices to Settlement Members;

                   b.   Settlement Members who do not opt-out will have 60 days from the date the

                        Notice is mailed to file any objection(s) to the settlement with the Claims

                        Administrator, and 60 days from the date the Notice is mailed to opt out of the

                        settlement;

                   c.   As long as a Settlement Member does not opt-out s/he may appear at the Final

                        Approval/Fairness Hearing and object;

                   d.   The Parties shall file their Motion for Final Approval of the Settlement by

                        ______________________;

                   e.   The    Court    will   hold       a   final   approval/fairness   hearing   on

                        _____________________ at ______ a.m./p.m. at the United States District




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                        Court for the Eastern District of New York, 100 Federal Plaza, Central Islip,

                        New York, Courtroom 910;

                   f.   If the Court grants the Parties’ Motion for Final Approval of the Settlement,

                        the Court will issue a Final Approval Order. If no party appeals the Court’s

                        Final Approval Order, the “Effective Date” of the settlement will be three days

                        after the deadline for taking an appeal has passed;

                   g.   If rehearing, reconsideration, or appellate review is sought, the “Effective

                        Date” shall be three days after all such challenges and appeals are resolved in

                        favor of final approval;

                   h.   The Claims Administrator will disburse settlement checks to the Class

                        Members, Class Counsel’s attorneys’ fees and expenses to Class Counsel, the

                        Service Awards, and the Claims Administrator’s fee within 30 days of the

                        Effective Date; and

                   i.   The parties shall abide by all terms of the Settlement Agreement.



 It is so ORDERED this ___ day of ___________, 2024.



                                                   __________________________________________
                                                         Honorable Nusrat Jahan Choudhury
                                                         United States District Judge




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                               EXHIBIT B
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------- X
                                                                    :
 TONY CACCAVALE, ANTHONY MANGELLI,                                  :
 DOUGLAS SORBIE, and JAMES BILLUPS,                                 :   2:20-cv-00974 (NJC)(ST)
 individually and on behalf of all others similarly                 :
 situated,                                                          :
                                                                    :
                       Plaintiffs,                                  :
                       v.                                           :
                                                                    :
 HEWLETT-PACKARD COMPANY A/K/A HP                                   :
 INC., HEWLETT PACKARD ENTERPRISE                                   :
 COMPANY and UNISYS CORPORATION,                                    :
                                                                    :
                       Defendants.                                 :
                                                                   :
 ----------------------------------------------------------------- X

       NOTICE OF PROPOSED CLASS AND COLLECTIVE ACTION SETTLEMENT

      YOU COULD GET A PAYMENT FROM A CLASS AND COLLECTIVE ACTION
                             SETTLEMENT

Current or former employees of Unisys (including the Named Plaintiffs) who are or were
employed at any time by Unisys in New York based on a Unisys-assigned New York work
location, during the period February 21, 2014 through October 20, 2023, in one or more of the
following positions in the Service Delivery Employee job family: Field Engineer 1, Field
Engineer 2, Field Engineer 3, Field Engineer 4, Customer Engineer 2, Customer Engineer 3,
Customer Engineer 4, Customer Engineer 5, Customer Engineer 6, Client Infrast Rep 3-Barg
Unit, Client Infrast Rep 4-Bar Unit, Client Infrast Rep 5-Barg Unit, UTS Field Svc Associate,
UTS Field Svc Tech 1, UTS Field Svc Tech 2, UTS Field Svc Tech 3, UTS Field Svc Tech 4, or
UTS Field Svc Tech 5 (collectively “Service Delivery Employees”), should read this notice.

           A Federal Court authorized this Notice. This is not a solicitation from a lawyer.

A former employee (“Plaintiff”) of Unisys Corporation (“Unisys” or “Defendant”) sued Unisys
claiming that it violated the New York Labor Law by paying Service Delivery Employees overtime
wages on a bi-weekly, as opposed to weekly, basis and later than seven calendar days after the end of
the workweek in which wages were earned and violated the federal Fair Labor Standards Act by failing
to pay overtime promptly. The Plaintiff sought recovery of liquidated damages of up to 100% of the
amount of overtime wages that he contends were not paid timely. Defendant expressly contests and
denies the allegations made by the Plaintiff and denies any liability or damages. Defendant has
nevertheless decided to settle the case to avoid the burden and expense of continuing the lawsuit.

                                                                                                        1

                                           Questions? See Question 6

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The Plaintiff and Defendant have entered into a settlement regarding the above claims, subject to
Court approval. Defendant has agreed to pay a total of six hundred and twenty-five thousand dollars
($625,000.00) that will be used to pay current and former Service Delivery Employees who are
eligible to participate in the settlement and attorneys’ fees and costs.

You are receiving this Notice because you may be eligible to receive a payment based on the
settlement agreement. You are not guaranteed to receive a payment just because you have received
this Notice. To receive a settlement payment and become a Participating Settlement Member under
the settlement agreement, you must meet the eligibility criteria under the settlement and return a valid
Claim Form (enclosed) postmarked by [INSERT DATE OF END OF CLAIM PERIOD – 60 DAYS
AFTER NOTICE IS SENT]

We cannot estimate the amount of your payment at this time because it depends on the number of
Participating Settlement Members, but if the settlement is approved by the Court, your payment,
provided you meet the eligibility criteria, will be calculated based on the applicable number of
overtime hours you worked as a Service Delivery Employee divided by the total applicable number
of overtime hours worked by all Participating Settlement Members.

The Court has not decided who is right and who is wrong. Your legal rights may be affected whether
you act or don’t act, and you have a choice to make now:

                  YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT

                     To participate in the monetary recovery provided by the settlement, you must
                     complete and return the enclosed Claim Form postmarked by [INSERT DATE
                     OF END OF CLAIM PERIOD – 60 DAYS AFTER NOTICE IS SENT].
 PARTICIPATE
                     If you believe that the settlement is not fair or reasonable, you can write to the
                     Claims Administrator to express your views. You should object in writing
                     [INSERT DATE OF END OF CLAIM PERIOD – 60 DAYS AFTER NOTICE
                     IS SENT]. If the Court rejects your objection, you will still be bound by the
     OBJECT          terms of the settlement.

                     To object to the settlement you must not opt-out of the settlement.

                     Your objection should be postmarked no later than [INSERT DATE OF END
                     OF CLAIM PERIOD – 60 DAYS AFTER NOTICE IS SENT].

                     If you do not opt-out of the settlement and do not submit a written objection to
                     the Claims Administrator, you may still appear at the Final Approval/Fairness
                     Hearing and object.
                     If you wish to exclude yourself (“opt-out”) from the settlement, you must follow
                     the directions outlined in Question 13 below. If you exclude yourself, you will
   EXCLUDE           receive no payment and you cannot object to the settlement. If you are one of
   YOURSELF          the four Named Plaintiffs or previously filed a Consent to Join form in
                     connection with this lawsuit, you may still exclude yourself from this
                                                                                                     2

                                     Questions? See Question 6

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                     settlement.
                     Your exclusion request must be postmarked no later than [INSERT DATE OF
                     END OF CLAIM PERIOD – 60 DAYS AFTER NOTICE IS SENT].
Your rights and options – and the deadlines to exercise them – are explained in this Notice. The Court
in charge of this case still has to decide whether to approve the settlement. Payments will be made if
the Court approves the settlement and after any appeals are resolved. Please be patient.

                                     BASIC INFORMATION

 1. Why did I get this Notice?

You have received this Notice because Defendant’s records show that you are or were a Service
Delivery Employee employed by Unisys in New York based on a Unisys-assigned New York work
location during the period February 21, 2014 through October 20, 2023.

The Court ordered that you be sent this Notice because you have a right to know about a proposed
settlement and all your options before the Court decides whether to approve the settlement. The
lawsuit is known as Tony Caccavale, Anthony Mangelli, Douglas Sorbie, and James Billups,
individually and on behalf of all others similarly situated v. Hewlett-Packard Company a/k/a HP Inc.,
Hewlett Packard Enterprise Company, and Unisys Corporation, Case No. 2:20-cv-00974 (NJC)(ST),
and it is pending in the United States District Court for the Eastern District of New York.

 2. What is this lawsuit about?

This lawsuit is about whether the Defendant timely paid employees in accordance with federal and
state labor laws. In particular, this Notice relates to claims that the Defendant violated state law by
paying Service Delivery Employees their overtime wages on a bi-weekly, as opposed to weekly, basis
and later than seven calendar days after the end of the workweek in which the overtime wages were
earned and federal law by not paying overtime wages promptly. There is no allegation that Service
Delivery Employees were not paid for all hours worked.

Defendant denies that it violated any laws or did anything wrong. The Court has not issued any
decision finding that Defendant violated any laws or did anything wrong.

 3. What is a Class and Collective Action?

A class and collective action is a lawsuit where one or more persons (“Class and Collective
Representatives”) (in this case Plaintiff Douglas Sorbie is both the Class and Collective
Representative) sue not only for themselves, but also for other people who have similar claims. These
other people are known as Class and Collective Members. In a class and collective action, one court
resolves the issues for all Class and Collective Members, except for those who exclude themselves
from the Class and do not join the Collective. Here, the Class Representative is asserting, on behalf
of the Class, claims under state wage and hour laws. The Collective Representative is asserting, on
behalf of the Collective, claims under the Fair Labor Standards Act.

                                                                                                     3

                                     Questions? See Question 6

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Settlement Members means all Service Delivery Employees as described above.

The New York State Settlement Class and Federal FLSA Settlement Collective are referred to
collectively as the Settlement Class/Collective.

You are automatically a member of the New York State Settlement Class if you are a Service Delivery
Employee employed by Unisys in New York based on a Unisys-assigned New York work location
during the period February 21, 2014 through October 20, 2023.

You are a potential member of the Federal FLSA Settlement Collective if you are a Service Delivery
Employee employed by Unisys in New York based on a Unisys-assigned New York work location
during the period December 17, 2017 through October 20, 2023. To become a member of the Federal
FLSA Settlement Collective you must submit a timely and valid Claim Form.

 4. Why is there a settlement?

The Court did not decide in favor of Plaintiff or Defendant. Both Plaintiff and Defendant believe they
have valid arguments, and that they could have won if they went to trial. But there was no trial.
Instead, both sides agreed to a settlement. That way, they avoid the costs, delays, and uncertainties
associated with a trial.

The Class and Collective Representative and Class and Collective Counsel (identified in Question 6
below) think the settlement is the best result for Settlement Members. Class and Collective Counsel
are satisfied that the terms and conditions of the settlement are fair, reasonable, and adequate, and that
the settlement is in the best interest of the Class and Collective Representative and the Settlement
Members.

The “New York State Settlement Class” and “Federal FLSA Settlement Collective” are described in
Question 3 above.

                                 WHO IS IN THE SETTLEMENT

 5. How do I know if I am part of the settlement?

You are part of the settlement if you are encompassed within the Class and/or Collective as
described in Question 3 above.

In order to be eligible to receive a monetary award from the settlement, you must now complete
and return the enclosed Claim Form (as described in Question 9 below) provided you have not
submitted a valid Opt-out in accordance with Section 13(k) of the Agreement and this Notice.

If you return a complete and valid copy of the enclosed Claim Form (and you do not opt out of the
settlement) postmarked by [INSERT DATE – 60 DAYS AFTER NOTICE PACKET], you will be
a “Participating Settlement Member.”

 6. I’m still not sure if I am included?

                                                                                                        4

                                      Questions? See Question 6

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If you are still not sure whether you are included, you can contact the Claims Administrator in this
matter at [INSERT CONTACT INFORMATION.] You may also contact Class and Collective
Counsel – Paul A. Pagano of the Law Office of Paul A. Pagano, P.C. (917-589-1479); Jason L.
Abelove of the Law Office of Jason L. Abelove, P.C. (516-222-7000); Anthony J. LoPresti of the Law
Offices of Anthony J. LoPresti (516-739-2020); and Yale Pollack of the Law Offices of Yale Pollack,
P.C. (516-634-6340) – for more information, but your first contact should be the Claims
Administrator.

                      THE SETTLEMENT BENEFITS – WHAT YOU GET

 7. What does the settlement provide?

Defendant has agreed to pay $625,000.00. Subject to the Court’s approval of the settlement and
deductions for requested Class and Collective Counsel fees and litigation costs, incentive payment to
the Class and Collective Representative, administration costs, and employment taxes (if any), a
minimum of approximately $__________ (the “Net Settlement Amount”) will be distributed among
Participating Settlement Members.

 8. How much will my payment be?

If you return a valid Claim Form postmarked by [INSERT DATE – 60 DAYS AFTER NOTICE
PACKET], then you are a Participating Settlement Member and subject to Court approval your
settlement allocation will be calculated as follows:

Each Settlement Member who becomes a Participating Settlement Member will receive a Distribution
Amount calculated pursuant to the following formula:
         1. The number of applicable overtime hours worked by all Participating Settlement Members
            will be totaled (“Total Overtime Hours”).
         2. Each Participating Settlement Member’s applicable individual total overtime hours (the
            numerator) will be divided by the Total Overtime Hours (the denominator) to arrive at that
            Participating Settlement Member’s “Overtime Participation Percentage.”

         3. Each Participating Settlement Member’s Overtime Participation Percentage will be
            multiplied by the Net Settlement Amount.

         4. Participating Settlement Members whose Distribution Amount would result in a payment
            of less than $50, or no payment, will receive a minimum Distribution Amount from the
            Net Settlement Amount in the amount of $50.

         5. Allocation to Participating Settlement Members whose Distribution Amount would result
            in a payment equal to or greater than $50, will be made from the Net Settlement Amount
            minus the total amount of minimum payments set forth in number (4) above.

                                                                                                    5

                                     Questions? See Question 6

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         6. The resulting amount set out in number (4) above or as applicable number (5) above will
            be that “Participating Settlement Member’s Distribution Amount.”

         7. Only Participating Settlement Members shall be entitled to receive an individual
            Distribution Amount.
We cannot estimate your payment at this time because it depends on the Participating Settlement
Members, and the Court needs to approve, among other things, the service award and attorneys’ fees
and costs.

To the extent you dispute the number of applicable overtime hours you worked as a Service Delivery
Employee you are required to contact the Claims Administrator.

                                  HOW YOU GET A PAYMENT

 9. How can I get my payment?

In order to be eligible to receive the payment identified in Question 8, you must return the enclosed
Claim Form to the Tony Caccavale, Anthony Mangelli, Douglas Sorbie, and James Billups,
individually and on behalf of all others similarly situated v. Hewlett-Packard Company a/k/a HP Inc.,
Hewlett Packard Enterprise Company, and Unisys Corporation Claims Administrator at
[ADDRESS], postmarked by [INSERT DATE – 60 DAYS AFTER NOTICE PACKET]. If you choose
to exclude yourself (as explained in Question 13 below), or you fail to return a valid Claim Form prior
to the deadline, then you will not receive a payment but in the latter instance you will still be bound
by certain provisions of the settlement.

 10. When will I receive my payment?

The Court will hold a hearing on [INSERT DATE AND TIME OF FAIRNESS HEARING] to decide
whether to approve the settlement. If the Court approves the settlement and there are no appeals,
within approximately thirty (30) days, funds will be disbursed to the Participating Settlement
Members. If you receive a settlement check, you must deposit or cash your settlement check within
one hundred twenty (120) calendar days after it is mailed to you. The funds from any uncashed checks
will be distributed to the following charitable organization: National Institute for Workers’ Rights.

 11. How will my payment be taxed?

You will be responsible for paying taxes due on any settlement payment to you. The payment will be
treated as non-wage income representing payment for alleged liquidated damages (with no taxes
withheld and a 1099 Form issued). Neither Class and Collective Counsel nor Defendant or
Defendant’s counsel makes any representations concerning the tax consequences of this settlement,
and you are advised to seek your own personal tax advice regarding the tax implications of the
settlement.



                                                                                                     6

                                     Questions? See Question 6

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 12. What am I giving up to get a payment or stay in the Collective or Class?

The settlement impacts you as follows:

        Unless you exclude yourself (as explained in Question 13 below), you waive and release
         Unisys and its related entities from all State and local wage and hour claims if you are a
         member of the New York State Settlement Class as defined in Question 3 above whether or
         not you submit a valid Claim Form and whether or not you receive a payment under the
         settlement.

        You waive and release Unisys and its related entities from all Federal wage and hour claims
         only if you submit a valid Claim Form and become a member of the Federal FLSA Settlement
         Collective as defined in Question 3.

If you return a valid attached Claim Form postmarked by [INSERT DATE OF END OF CLAIM
PERIOD – 60 DAYS AFTER NOTICE IS SENT], you will also join the Federal FLSA Settlement
Collective. That means that you will release the wage payment claims under the federal Fair Labor
Standards Act discussed in the second bullet point above.

Releasing your claims means that you cannot sue, continue to sue, or be party to any other lawsuit
against Defendant and its related entities about the legal issues in this case. By staying in the New
York State Settlement Class and/or joining the Federal FLSA Settlement Collective, you are agreeing
that all of the Court’s orders pertaining to the settlement will apply to you and legally bind you.

Also, any lawsuits filed by Settlement Members prior to [INSERT DATE OF PRELIMINARY
APPROVAL ORDER] asserting claims encompassed within the first two bullet points above, shall
be added to this settlement and dismissed as part of the Final Approval Order.

Please Note: Plaintiff has also brought claims against Hewlett Packard Company (“HP”), HP
Inc. (“HPI”), and Hewlett Packard Enterprise Company (“HPE”) alleging violations of New
York State wage and hour laws in this lawsuit. HP, HPI, and HPE are not parties to the
settlement. Plaintiff’s claims against them are still being litigated in court. Your participation
in this settlement does not affect any claims you might have against HP, HPI, HPE, or related
entities.

                    EXCLUDING YOURSELF FROM THE SETTLEMENT

If you want to keep the right to sue or continue to sue Unisys on state and local wage and hour claims
you must exclude yourself from the New York State Settlement Class. If you want to keep the right
to continue to sue Unisys on federal wage and hour claims you must not submit a Claim Form. The
process of excluding yourself is also sometimes referred to as “opting out” of the Class.



 13. How do I opt out of the settlement?

                                                                                                    7

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To exclude yourself from the settlement, you must mail a written, signed statement including your
name, address, and telephone number(s) to the Tony Caccavale, Anthony Mangelli, Douglas Sorbie,
and James Billups, individually and on behalf of all others similarly situated v. Hewlett-Packard
Company a/k/a HP Inc., Hewlett Packard Enterprise Company, and Unisys Corporation Claims
Administrator, Rust Consulting, at [ADDRESS], postmarked by [INSERT DATE – 60 DAYS AFTER
NOTICE PACKET]. This written statement must also state: “I, [NAME], was or am employed by
Unisys as a Service Delivery Employee and had a Unisys-assigned work location in New York
between February 21, 2014 through October 20, 2023. I hereby exercise my right to opt out of the
Tony Caccavale, Anthony Mangelli, Douglas Sorbie, and James Billups, individually and on behalf
of all others similarly situated v. Hewlett-Packard Company a/k/a HP Inc., Hewlett Packard
Enterprise Company, and Unisys Corporation Settlement, knowing that by doing so I waive any and
all rights I may have to participate in that Settlement and to be paid any portion of the settlement
proceeds that I would otherwise be eligible to receive under that Settlement.” The written opt-out
statement must be postmarked no later than [INSERT DATE OF END OF CLAIM PERIOD – 60
DAYS AFTER NOTICE IS SENT]. If you ask to be excluded, you will not receive a settlement
payment, and you cannot object to the settlement. You will not be legally bound by anything that
happens in this lawsuit. You may also be able to sue (or continue to sue) Defendant in the future, but
Class and Collective Counsel cannot represent you. If you wish to exclude yourself in order to file an
individual lawsuit against Defendant, you should speak to a lawyer as soon as possible because your
claims are subject to a statute of limitations.

 14. If I don’t exclude myself can I sue Defendant for the same thing later?

Unless you exclude yourself, you give up any rights to sue Defendant as outlined in Question 12.

 15. If I exclude myself, can I get money from this settlement?

No. If you exclude yourself, you will not receive any money from this settlement. You may sue,
continue to sue, or be part of a different lawsuit against Defendant regarding the same claims.

                            THE LAWYERS REPRESENTING YOU

 16. Do I have a lawyer in this case?

The Court has decided that (a) Paul A. Pagano of the Law Office of Paul A. Pagano, P.C., 100 Duffy
Avenue, Suite 510, Hicksville, New York 11801; (b) Jason L. Abelove of the Law Office of Jason L.
Abelove, P.C., 666 Old Country Road, Suite 303, Garden City, New York 11530-2014; (c) Anthony
J. LoPresti of the Law Offices of Anthony J. LoPresti, 585 Stewart Avenue, Suite 544, Garden City,
New York 11530; and (d) Yale Pollack of the Law Offices of Yale Pollack, P.C., 66 Split Rock Road,
11791, Syosset, New York 11779 are qualified to represent you and all Class and Collective Members.
These lawyers have been designated as “Class and Collective Counsel” in this lawsuit. More
information about these lawyers’ practices and experience is available on the following websites:

    -    https://www.jasonabelove.com/

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                                    Questions? See Question 6

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    -    https://www.nassaufamilylaw.com/

    -    https://www.yalepollacklaw.com/.

 17. How will the lawyers be paid?

Class and Collective Counsel will ask the Court to approve payment of up to 33 1/3 % of the settlement
amount to them for attorneys’ fees. The fees would pay Class and Collective Counsel for investigating
the facts, litigating the case, and negotiating the settlement. Class and Collective Counsel will also ask
the Court to approve payment of up to $35,000.00 for their out-of-pocket costs. The Court may award
less than these requested amounts to Class and Collective Counsel. Class and Collective Counsel will
take their fees from the total settlement payment before making individual settlement allocations, and
before settlement payments are distributed.

                              OBJECTING TO THE SETTLEMENT

You can tell the Court if you don’t agree with the settlement, or some part of it.


 18. How do I tell the Court that I don’t like the settlement?

New York State Settlement Class Members who do not opt-out and who wish to object to the proposed
Settlement can do so if you don’t like any part of it. You can give reasons why you think the Court
should not approve it. The Court will consider your views. To object, you should send a written
statement including your name, address, and telephone number(s) to the Tony Caccavale, Anthony
Mangelli, Douglas Sorbie, and James Billups, individually and on behalf of all others similarly
situated v. Hewlett-Packard Company a/k/a HP Inc., Hewlett Packard Enterprise Company, and
Unisys Corporation Claims Administrator, Rust Consulting, at [ADDRESS], including all reasons for
the objection. The written objection statement should be postmarked no later than [INSERT DATE
TO OBJECT] While it is preferred that, if you wish to object, you do so in writing by [INSERT DATE
TO OBJECT], you may still object at the Fairness Hearing even if you do not submit a prior written
objection.


 19. What is the difference between objecting to the settlement and excluding myself?

Objecting is simply telling the Court that you do not like something about the settlement. Excluding
yourself is telling the Court that you do not want to be part of the New York State Settlement Class.
If you exclude yourself, you have no basis to object because the case no longer affects you.

                              THE COURT’S FAIRNESS HEARING

The Court will hold a Fairness Hearing on [INSERT DATE AND TIME OF FAIRNESS HEARING],
at the United States District Court for the Eastern District of New York, 100 Federal Plaza, Central
Islip, New York 11722, Courtroom 1040. You may attend and you may ask to speak, but you don’t
have to. At this hearing, the Court will consider whether the settlement is fair, reasonable, and
                                                                                                  9

                                      Questions? See Question 6

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adequate. If there are objections, the Court will consider them. After the hearing, the Court will decide
whether to approve the settlement. We do not know how long the Court’s decision will take.

 20. Do I have to come to the hearing?

No. Class and Collective Counsel will represent you at the hearing. You are welcome to come at your
own expense. If you send an objection, you do not have to come to Court. You may also pay your
own lawyer to attend, but it is not necessary.

 21. May I speak at the hearing?

You may speak at the Final Approval/Fairness Hearing. While it is preferable to submit a written
objection in advance of the hearing consistent with Question 18 above, a written objection is not a
prerequisite to appearing at the Final Approval/Fairness Hearing to object to the settlement. You
cannot speak at the Final Approval/Fairness Hearing if you exclude yourself from the settlement.

                                GETTING MORE INFORMATION

 22. Are more details available?

You can obtain more information about the settlement or obtain a copy of the settlement agreement
by contacting the Claims Administrator.

DATED:            [INSERT DATE]




                                                                                                      10

                                     Questions? See Question 6

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                               EXHIBIT C
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 Tony Caccavale, Anthony Mangelli, Douglas Sorbie, and James Billups, individually and on behalf of all
others similarly situated v. Hewlett-Packard Company a/k/a HP Inc., Hewlett Packard Enterprise Company,
                                          and Unisys Corporation
                                           Claims Administrator
                                               [ADDRESS]

 [Notice ID]                                           Applicable overtime hours worked from February 21,
 [First Name] [Last Name]                              2014, or the date of hire if later, to October 20, 2023 or
 [Street 1]                                            date of termination if earlier: ____________ hours
 [City], [State] ZIP]


                                              CLAIM FORM


     You Must Return This Form Postmarked by [INSERT DATE] To Receive a Settlement Payment

Tony Caccavale, Anthony Mangelli, Douglas Sorbie, and James Billups, individually and on behalf of all others
  similarly situated v. Hewlett-Packard Company a/k/a HP Inc., Hewlett Packard Enterprise Company, and
                                              Unisys Corporation,
United States District Court for the Eastern District of New York, Case No. Case No. 2:20-cv-00974 (NJC)(ST)

  To receive a payment under this Settlement, the Court must grant Final Approval of the Settlement
Agreement and you must complete, sign, and send this Claim Form via mail or overnight delivery so it is
                          postmarked no later than [INSERT DATE], to:

 Tony Caccavale, Anthony Mangelli, Douglas Sorbie, and James Billups, individually and on behalf of all
others similarly situated v. Hewlett-Packard Company a/k/a HP Inc., Hewlett Packard Enterprise Company,
                                          and Unisys Corporation
                                           Claims Administrator

                                              Rust Consulting
                                           [INSERT ADDRESS]

          If your Claim Form is postmarked AFTER [INSERT DATE], your claim will be rejected.

CLAIMANT INFORMATION (IF DIFFERENT FROM ABOVE):

Print Clearly or Type:

Name __________________________
                First                Middle                    Last

Other Names (if any): ___________________________________________________________

Current Residential Street Address _________________________________________________

City __________________________________ State __________ ZIP Code ______________




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Telephone Number ____________________

Email Address _______________________

If you are submitting this Claim Form on behalf of a Settlement Member who is deceased or has become
incapacitated, provide details about the capacity in which you are submitting this Claim Form on a separate sheet
and include it with this completed Claim Form.

Remember:

        You are not required to submit a Claim Form.
        You are required to submit a timely and valid Claim Form to obtain a payment in connection with this
         action.
        Whether or not you submit a timely and valid Claim Form, you will nonetheless be bound by all applicable
         provisions in the Settlement Agreement provided you have not submitted a valid Opt-out form.



                       PLEASE CONTINUE TO BACKSIDE OF THE CLAIM FORM




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   EMPLOYMENT INFORMATION AND SETTLEMENT PAYMENT CALCULATIONS
Your settlement payment will be determined as follows: First, the number of applicable overtime
hours worked by all Participating Settlement Members from February 21, 2014 through October 20,
2023 will be totaled (“Total Overtime Hours”). Second, each Participating Settlement Member’s
applicable individual total overtime hours (the numerator) will be divided by the Total Overtime Hours
(the denominator) to arrive at that Participating Settlement Member’s “Overtime Participation
Percentage.” Third, each Participating Settlement Member’s Overtime Participation Percentage will
be multiplied by the Net Settlement Amount (which is the gross settlement payment of $625,000, plus
any interest it accrues, minus attorneys’ fees, litigation costs, an incentive award to Named Plaintiff
Douglas Sorbie (if any), taxes (if any), and administration costs.)
If your settlement payment would be less than $50, or no payment, you will receive a payment of $50
in exchange for returning this Claim Form and participating in the settlement. If your settlement
payment would be equal to or greater than $50, your payment will be from the Net Settlement Amount
minus the total amount of minimum payments in the preceding sentence.
      CONSENT TO JOIN THE LAWSUIT AND RECEIVE SETTLEMENT PAYMENT
          AND RELEASE OF CLAIMS – CONFIRMATION AND SIGNATURE
By signing below, I confirm that: (1) I am knowingly and voluntarily signing this Claim Form and
releasing all claims under the Fair Labor Standards Act and all wage claims under the New York Labor
Law as described more fully in the Notice and Settlement Agreement, against Unisys and its related
entities; (2) I agree to participate in and be bound by all the terms of the Settlement, if approved by the
Court; (3) I am not opting out of the New York State Settlement Class and (4) I am consenting to join the
Federal FLSA Settlement Collective portion of this case and am opting-in to become a plaintiff in Tony
Caccavale, Anthony Mangelli, Douglas Sorbie, and James Billups, individually and on behalf of all
others similarly situated v. Hewlett-Packard Company a/k/a HP Inc., Hewlett Packard Enterprise
Company, and Unisys Corporation, Case No. Case No. 2:20-cv-00974 (NJC)(ST) (the “Lawsuit”), in the
United States District Court for the Eastern District of New York. By signing and returning this Claim
Form, I further consent to and authorize Class and Collective Counsel to act on my behalf in all matters
relating to this action, including the settlement of my claims. If the Court grants final approval, I
understand that my settlement payment is attributable to liquidated damages and will be treated as non-
wage income and be reported on an IRS Form 1099. No taxes will be withheld from my settlement
payment. I understand that, if taxes are due and owing on my settlement payment, I am responsible for
the payment of such taxes.




Claimant’s Name (Please Print):


Signature of Claimant                                  Date

REMEMBER: In order to be eligible to receive a settlement payment, you must timely submit
a fully completed and signed Claim Form to the Claims Administrator so that it is postmarked
by [DATE].
Please contact the Claims Administrator, Rust Consulting, at ___________________ with any
questions, and/or to confirm receipt of your Claim Form.




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